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               Exhibit C
                                                                       Case 2:21-cv-00678-NRM-AYS                               Document 160-3                          Filed 03/18/22                   Page 2 of 27 PageID
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                                                                                                                              Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                        Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                         Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name               Item Number       Product Description            Lot Code                Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                             On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                           (ppb)                                        (ppb)      (ppb)
       11/26/2019      Wright Enrichment                     5316067   Vitamin Pre Mix                     19090122P         Deviation Approved      Accepted on deviation 20190236
                                                                                                                                                                                      Eurofins/Covance   As Purchased
                                                                                                                                                                                                                            100            223            100          60.5        100          352
       11/25/2019      Healthy Food Ingredients              5314070   Org Red Lentils                     19CB3289               Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       11/25/2019      Victor Packing                         472030   Org Raisin Paste                    255110719              Accepted                                                 Deibel        As Purchased       100             45            100           <10        100           <10
       11/25/2019      Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                     16-9022              Accepted                                                 Deibel        As Purchased       100             22            100           <10        100           <10
       11/25/2019      Grimmway Farms                        5314203   Org Red Beet Puree               M12049B2B82C              Accepted                                                 Deibel        As Purchased       100             13            100           <10        100           <10
       11/22/2019      Townsend Farms                          70030   Org Blueberry Puree                 T111219A               Accepted                                                 Deibel        As Purchased       100            <100           100          <100        100          <100
       11/22/2019      Townsend Farms                          70030   Org Blueberry Puree              T111119A Chile            Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       11/22/2019      Townsend Farms                          70030   Org Blueberry Puree                 T111219A               Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       11/22/2019      Abre Farms                            5304064   Org Pumpkin Puree                      306-19              Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       11/20/2019      Grain Millers                           57400   Org Oat Flour                        191111A               Accepted                                            Eurofins/Covance   As Purchased       100            9.86           100          10.8        100            5
       11/20/2019      Grain Millers                           57400   Org Oat Flour                        191111A               Accepted                                            Eurofins/Covance   As Purchased       100            9.86           100          10.8        100            5
       11/15/2019      Grain Millers                           57400   Org Oat Flour                        191106A               Accepted                                            Eurofins/Covance   As Purchased       100            9.85           100          10.1        100            5
       11/15/2019      Pacific Grains & Foods                5303151   Org Short Grain White Rice     191030-2361-534SW           Rejected                                            Eurofins/Covance   As Purchased       100             119           100           <10        100           <10
       11/14/2019      Byrne Hollow Farm                     5301076   Org Whole Milk Yogurt                27DEC19               Accepted                                                 Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       11/13/2019      Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour               B160007682              Accepted                                            Eurofins/Covance   As Purchased       100            60.9           100          59.8        100          9.09
       11/13/2019      P&H Millling                           471152   Org Soft White Wheat Flour            930011               Accepted                                            Eurofins/Covance   As Purchased       100            9.91           100          17.9        100            5
       11/13/2019      P&H Millling                           471152   Org Soft White Wheat Flour            929611               Accepted                                            Eurofins/Covance   As Purchased       100            9.69           100          20.9        100            5
       11/13/2019      Firebird Artisan Mills                  57600   Org Brown Rice Flour                 F1900658              Rejected                                            Eurofins/Covance   As Purchased       100             146           100          14.3        100          5.39
       11/11/2019      Grain Millers                           57400   Org Oat Flour                        191101A               Accepted                                            Eurofins/Covance   As Purchased       100            9.91           100          1.09        100            5
       11/7/2019       Bolt House                            5314134   Org Carrot Puree                  BJ219AUG23A              Accepted                                                 Deibel        As Purchased       100             20            100           16         100           <10
       11/6/2019       Diana Food Equador S.A.                  8500   Org Banana Puree                       92833               Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       11/6/2019       Diana Food Equador S.A.                  8500   Org Banana Puree                       92832               Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       11/6/2019       Van Drunen Farms                      5314109   IQF Organic Leek                 27392177107.4             Accepted                                                 Deibel        As Purchased       100             38            100           <10        100           <10
       11/6/2019       Meduri Farms                         HI100149   Org Blueberry Crumbles               19081445              Accepted                                                 Deibel        As Purchased       100             36            100           <10        100           <10
       11/5/2019       Grain Millers                           55300   Org Barley Flour                     191027A               Accepted                                            Eurofins/Covance   As Purchased       100            9.79           100          8.75        100            5
       11/1/2019       Townsend Farms                          70030   Org Blueberry Puree              T101819D Chile            Accepted                                                 Deibel        As Purchased       100             13            100           <10        100           <10
       11/1/2019       Sure Fresh Produce                    5314146   Org IQF Celery                       SF628822              Accepted                                                 Deibel        As Purchased       100             12            100           13         100           <10
       10/31/2019      Banana Light                             8500   Org Banana Puree              BPA2B-B1 190624/1/23         Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/31/2019      Banana Light                             8500   Org Banana Puree              BPA2B-B1 190325-1-23         Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/31/2019      Banana Light                             8500   Org Banana Puree              BPA2B-B1 190420-1-21         Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/31/2019      Banana Light                             8500   Org Banana Puree              BPA2B-B1 190628-1-22         Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/31/2019      Victor Packing                         472030   Org Raisin Paste                    255100919              Accepted                                                 Deibel        As Purchased       100             26            100           <10        100           <10
       10/30/2019      Eco Holding                               59    Org HA Apple Puree SS               5L2 19158              Accepted                                                 Deibel        As Purchased       100             16            100           <10        100           <10
       10/30/2019      Eco Holding                               69    Org Apple Puree SS                   1L1 19092             Accepted                                                 Deibel        As Purchased       100             15            100           <10        100           <10
       10/30/2019      Eco Holding                               69    Org Apple Puree SS                  6L1 19095              Accepted                                                 Deibel        As Purchased       100             15            100           <10        100           <10
       10/30/2019      Eco Holding                               59    Org HA Apple Puree SS               3L2 19157              Accepted                                                 Deibel        As Purchased       100             14            100           <10        100           <10
       10/30/2019      Eco Holding                               69    Org Apple Puree SS                  2L1 19093              Accepted                                                 Deibel        As Purchased       100             11            100           <10        100           <10
       10/22/2019      National Frozen Foods Corporation       49900   Org Cut Corn                19091402A01493-105-2-19        Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/22/2019      National Frozen Foods Corporation       49900   Org Cut Corn               1909100802C014193-101-2-19      Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/17/2019      Byrne Hollow Farm                     5301076   Org Whole Milk Yogurt                11/30/19              Accepted                                                 Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       10/16/2019      Grain Millers                         5308029   Org Brown Flax Milled                 191009F              Rejected                                                 Deibel        As Purchased       100            9.98           100           110        100            5
       10/14/2019      Townsend Farms                          70030   Org Blueberry Puree               T100319A USA             Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/14/2019      CI Potosi SAS                           70142   Org Mango Puree                      33918102              Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/14/2019      Townsend Farms                          70030   Org Blueberry Puree               T100219B USA             Accepted                                                 Deibel        As Purchased       100             11            100           <10        100           <10
       10/14/2019      Grain Millers                           57400   Org Oat Flour                        191006A               Accepted                                            Eurofins/Covance   As Purchased       100             9.9           100          9.37        100            5
       10/10/2019      Townsend Farms                          70030   Org Blueberry Puree              T093019A Chile            Accepted                                                 Deibel        As Purchased       100             <10           100           <10        100           <10
       10/9/2019       Bolt House                            5314134   Org Carrot Puree                  BJ219JUN26A              Accepted                                                 Deibel        As Purchased       100             17            100           <10        100           <10
       10/8/2019       Grain Millers                         5303011   Org Oat Fiber                        190924A               Accepted                                            Eurofins/Covance   As Purchased       100            9.84           100            5         100            5



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                                                                                                                                   Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                              Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                               Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date             Vendor Name               Item Number       Product Description              Lot Code                  Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                                   On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                                 (ppb)                                        (ppb)      (ppb)
       10/4/2019       Townsend Farms                        70030       Org Blueberry Puree               T092519A Chile             Accepted                                                   Deibel        As Purchased       100            <10            100            <10        100         <10
       10/4/2019       Sure Fresh Produce                   5314146      Org IQF Celery                       SF627312                Rejected                                                   Deibel        As Purchased       100            <10            100            188        100         <10
       10/3/2019       Daawat Foods/Nature Bio-Foods        5303133      Org Brown Rice Flour               B160007681                Accepted                                              Eurofins/Covance   As Purchased       100            9.89           100            62.2       100         10.2
       10/3/2019       Arrowhead Mills                      5303040      Org Spelt Flour                      26SEP20                 Accepted                                              Eurofins/Covance   As Purchased       100            9.88           100            28.4       100          5
       10/3/2019       Grain Millers                         55300       Org Barley Flour                     190925A                 Accepted                                              Eurofins/Covance   As Purchased       100            9.81           100            23.9       100          5
       10/1/2019       Van Drunen Farms                     5314109      IQF Organic Leek                  24992177107.4              Accepted                                                   Deibel        As Purchased       100            <10            100             85        100         <10
       10/1/2019       Banana Light                           8500       Org Banana Puree               BPA2B-B1 190829-1-31          Accepted                                                   Deibel        As Purchased       100            <10            100            <10        100         <10
       10/1/2019       Pacific Coast Fruit Products Ltd.    5303151      Org Short Grain White Rice      190211-1534-534SW            Rejected                                              Eurofins/Covance   As Purchased       100            104            100            <10        100         <10
                                                                                                                                                            Rejection based on non-Heavy
       9/30/2019       P&H Millling                           471152     Org Soft White Wheat Flour         924811                     Rejected                   Metal related spec        Eurofins/Covance   As Purchased
                                                                                                                                                                                                                                  100             9.9           100          15.2        100            5
       9/27/2019       ITI Tropicals                           8500      Org Banana Puree               2A 19ASE 154-M                Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
       9/27/2019       Townsend Farms                         70030      Org Blueberry Puree         T091719 Chile 440 2400           Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
       9/27/2019       Townsend Farms                         70030      Org Blueberry Puree        T091619A Chile (440/2400)         Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
       9/27/2019       ITI Tropicals                           8500      Org Banana Puree               2A 19ASE 163-M                Accepted                                                   Deibel        As Purchased       100            13             100           <10        100          <10
       9/24/2019       Abre Farms                            5314239     Org Green Bean Puree               246-19                    Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/23/2019       Sure Fresh Produce                    5314146     Org IQF Celery                       SF626512                 Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                  100            <10            100          18.2        100          <10
       9/20/2019       Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt                11/9/19                 Accepted                                                   Deibel                           N/A            N/A            N/A           N/A        N/A          N/A
       9/20/2019       Townsend Farms                         70030      Org Blueberry Puree          T091219A Chile (440 2401)       Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
       9/18/2019       Eco Holding                           5304037     Org HA Apple Puree                  1L1 19114                Accepted                                                   Deibel        As Purchased       100            14             100           <10        100          <10
       9/17/2019       Van Drunen Farms                      5314109     IQF Organic Leek                  23892177107.4              Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
       9/17/2019       Townsend Farms                         70030      Org Blueberry Puree             T081019A USA (440)           Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
       9/17/2019       Grimmway Farms                        5314203     Org Red Beet Puree                M12049A3B82C               Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/17/2019       World Foods and Flavors               5304063     Org Apricot Puree            M-0699-19 PCALECO050919          Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                  100            <10            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/17/2019       Eco Holding                           5304037     Org HA Apple Puree                  5L1 19115                 Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                  100             15            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/17/2019       Eco Holding                           5304037     Org HA Apple Puree                  70L2 19129                Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                  100             15            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/17/2019       Eco Holding                           5304037     Org HA Apple Puree                  64L2 19116                Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                  100             14            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/17/2019       Eco Holding                           5304037     Org HA Apple Puree                  58L2 19106                Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                  100             14            100           <10        100          <10
                                                                                                                                                            Rejection based on non-Heavy
       9/17/2019       Eco Holding                           5304037     Org HA Apple Puree                  65L2 19117                Rejected                   Metal related spec              Deibel       As Purchased
                                                                                                                                                                                                                                  100             13            100           <10        100          <10
       9/16/2019       Van Drunen Farms                      5314109     IQF Organic Leek                  22092177107.4              Accepted                                                   Deibel        As Purchased       100             12            100           79         100          <10
       9/16/2019       Grain Millers                          57400      Org Oat Flour                         190725A                Accepted                                              Eurofins/Covance   As Purchased       100            9.79           100          14.4        100           5
       9/16/2019       Pacific Grains & Foods                5303151     Org Short Grain White Rice      190904-2169-534SW            Rejected                                              Eurofins/Covance   As Purchased       100            142            100            1         100           1
       9/12/2019       Diana Food Equador S.A.                 8500      Org Banana Puree                       91891                 Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
       9/11/2019       Townsend Farms                         70030      Org Blueberry Puree             T083019A USA(440)            Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
       9/11/2019       Camerican International Inc.           49800      IQF Org Green Peas                      163                  Accepted                                                   Deibel        As Purchased       100             14            100          <10         100          <10
       9/11/2019       Wright Enrichment                     5316067     Vitamin Pre Mix                     RD1908096                Rejected                                              Eurofins/Covance   As Purchased       100            307            100          72.8        100          280
        9/9/2019       Healthy Food Ingredients              5314070     Org Red Lentils                      18CB2705                Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
        9/9/2019       Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour               B160007680                Accepted                                              Eurofins/Covance   As Purchased       100            12.9           100          18.6        100          17.6
        9/9/2019       Grain Millers                          57400      Org Oat Flour                         190828A                Accepted                                              Eurofins/Covance   As Purchased       100            9.96           100          9.96        100          9.96
        9/6/2019       Firebird Artisan Mills                5303042     Org Quinoa Flour                    F19-00226                Accepted                                              Eurofins/Covance   As Purchased       100            9.74           100          22.5        100           5
        9/4/2019       SVZ                                   5304135     Org Apricot Puree                  1000303016                Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
        9/4/2019       Townsend Farms                         70030      Org Blueberry Puree             T082619A USA (440)           Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
        9/4/2019       Stahlbush Island Farms                5314163     Sweet Potatoes for Puree       SW03A6046018047610            Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
        9/4/2019       Stahlbush Island Farms                5314163     Sweet Potatoes for Puree       SW03A6046018050611            Accepted                                                   Deibel        As Purchased       100            <10            100          <10         100          <10
                                                                                                                                                            Accepted on deviation 2019030
        9/4/2019       Firebird Artisan Mills                 57600      Org Brown Rice Flour                F19-00492            Deviation Approved                and 20190234            Eurofins/Covance   As Purchased
                                                                                                                                                                                                                                  100            134            100          12.8        100            5
        9/3/2019       Townsend Farms                         70030      Org Blueberry Puree             T081919A USA (440)           Accepted                                                   Deibel        As Purchased       100            <10            100           <10        100          <10



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                                                                                                         Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                  Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                   Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date             Vendor Name    Item Number       Product Description       Lot Code         Status               Comments on Status                  Lab                            Limit                                       Result      Limit
                                                                                                                                                                                       On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                     (ppb)                                        (ppb)      (ppb)
        9/3/2019       Yamco, LLC                 5314072     Org Butternut Squash Puree   S1-19220OBT      Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
                                                                                                                                 Rejection based on non-Heavy
        9/3/2019       SVZ                         22800      Org Plum Puree               1000327717       Rejected                   Metal related spec             Deibel       As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
       8/29/2019       Grain Millers               57400      Org Oat Flour                 190821A         Accepted                                            Eurofins/Covance   As Purchased       100            9.71           100          11.4        100          5.06
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010578063       Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010561460       Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010561045       Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010560835       Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010561385       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <100           100          <100        100          <100
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010562023       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010673043       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010672210       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010672046       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010671919       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010578568       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010578531       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010577855       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010577700       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010562398       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010561808       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010561249       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010672903       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010672626       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010672570       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010672403       Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
                                                                                                                                 Rejection based on non-Heavy
       8/28/2019       Tradin Organic             5304052     Org LA Apple Puree           0010577485       Rejected                   Metal related spec             Deibel       As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10
       8/27/2019       Grain Millers               55300      Org Barley Flour              190819A         Accepted                                            Eurofins/Covance   As Purchased       100            9.94           100          11.7        100            5
                                                                                                                                 Rejection based on non-Heavy
       8/27/2019       Byrne Hollow Farm          5301076     Org Whole Milk Yogurt         05OCT19         Rejected                   Metal related spec             Deibel                          N/A            N/A            N/A           N/A        N/A          N/A
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            11372071        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            41092159        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10653004        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10652918        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10653579        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10653541        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10653367        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10653644        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/23/2019       Firebird Artisan Mills      56700      Org Garbanzo Bean Flour       F19-00338       Accepted                                            Eurofins/Covance   As Purchased       100            9.9            100          5.79        100          5.38
                                                                                                                                 Rejection based on non-Heavy
       8/23/2019       Tradin Organic             5304052     Org LA Apple Puree            10562276        Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                      100            <10            100           <10        100          <10




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                                                                                                                                                                                                                    Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                     Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name            Item Number       Product Description             Lot Code              Status               Comments on Status                  Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                         On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                       (ppb)                                        (ppb)      (ppb)
                                                                                                                                                   Rejection based on non-Heavy
       8/23/2019       Tradin Organic                    5304052     Org LA Apple Puree                 10577532              Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10
                                                                                                                                                   Rejection based on non-Heavy
       8/23/2019       Tradin Organic                    5304052     Org LA Apple Puree                 10653427              Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10
                                                                                                                                                   Rejection based on non-Heavy
       8/23/2019       Tradin Organic                    5304052     Org LA Apple Puree                 10653475              Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10
                                                                                                                                                   Rejection based on non-Heavy
       8/23/2019       Tradin Organic                    5304052     Org LA Apple Puree                 10653524              Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10
                                                                                                                                                   Rejection based on non-Heavy
       8/23/2019       Tradin Organic                    5304052     Org LA Apple Puree                 10653522              Rejected                   Metal related spec             Deibel       As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10
       8/21/2019       Sure Fresh Produce                5314146     Org IQF Celery                       SF623601            Accepted                                                 Deibel        As Purchased       100            <10            100           26         100          <10
       8/19/2019       Townsend Farms                     70030      Org Blueberry Puree            T080719A USA (440)        Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/19/2019       Yamco, LLC                        5314072     Org Butternut Squash Puree         S1-19217OBT           Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/19/2019       Grain Millers                      57400      Org Oat Flour                        190807A             Accepted                                            Eurofins/Covance   As Purchased       100            9.99           100          13.9        100           5
       8/19/2019       Grain Millers                      57400      Org Oat Flour                        190809A             Accepted                                            Eurofins/Covance   As Purchased       100            9.82           100          12.2        100           5
       8/15/2019       Tradin Organic                    5314236     Org Parsnip Puree                    3372603             Accepted                                                 Deibel        As Purchased       100            <10            100           12         100          <10
       8/15/2019       Tradin Organic                    5314236     Org Parsnip Puree                    3379078             Accepted                                                 Deibel        As Purchased       100            <10            100           12         100          <10
       8/15/2019       ITI Tropicals                       8500      Org Banana Puree                 2A 19 ASE 121-M         Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/15/2019       ITI Tropicals                       8500      Org Banana Puree                 2A 19 ASE 119-M         Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/15/2019       ITI Tropicals                       8500      Org Banana Puree                 2A 19 ASE 111M          Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/15/2019       ITI Tropicals                       8500      Org Banana Puree                  2A19A5E112M            Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       8/15/2019       Tradin Organic                    5314236     Org Parsnip Puree                    3374669             Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
        8/9/2019       Grain Millers                      471138     Org Whole Wheat Fine Flour           190801A             Accepted                                            Eurofins/Covance   As Purchased       100            9.78           100          29.2        100           5
        8/7/2019       Grain Millers                      57400      Org Oat Flour                        190729A             Accepted                                            Eurofins/Covance   As Purchased       100            9.73           100          11.2        100           5
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree          T072019B USA (433,440)      Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree          T072519B USA (433,440)      Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree          T072619C USA (433,440)      Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree          T072119B USA (440-433)      Accepted                                                 Deibel        As Purchased       100             15            100          <10         100          <10
        8/6/2019       Bolt House                        5314134     Org Carrot Puree                  BJ219MAY15A            Accepted                                                 Deibel        As Purchased       100             14            100          <10         100          <10
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree            T072619A Chile (433)      Accepted                                                 Deibel        As Purchased       100             13            100          <10         100          <10
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree            T072219A USA (440)        Accepted                                                 Deibel        As Purchased       100             12            100          <10         100          <10
        8/6/2019       Townsend Farms                     70030      Org Blueberry Puree            T072519A USA (440)        Accepted                                                 Deibel        As Purchased       100             11            100          <10         100          <10
                                                                                                                                                   Rejection based on non-Heavy
        8/6/2019       ITI Tropicals                       8500      Org Banana Puree                 2A19ASE082M             Rejected                   Metal related spec             Deibel       As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10
       7/31/2019       Townsend Farms                     70030      Org Blueberry Puree           T072019A USA (440)         Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       7/31/2019       Grimmway Farms                    5314203     Org Red Beet Puree              M11889C2B82C             Accepted                                                 Deibel        As Purchased       100            <10            100          <10         100          <10
       7/31/2019       Grain Millers                      57400      Org Oat Flour                      190722A               Accepted                                            Eurofins/Covance   As Purchased       100            9.88           100          13.4        100           5
       7/30/2019       Grain Millers                      57400      Org Oat Flour                      190718A               Accepted                                            Eurofins/Covance   As Purchased       100            9.94           100          10.5        100           5
                                                                                                                                                   Rejection based on non-Heavy
       7/30/2019       Byrne Hollow Farm                 5301076     Org Whole Milk Yogurt              9/21/2019             Rejected                   Metal related spec             Deibel                          N/A            N/A            N/A           N/A        N/A          N/A
       7/29/2019       Yamco, LLC                        5314150     Org Pumpkin Puree                 s1-19183OPT            Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          <10
       7/26/2019       Yamco, LLC                        5314072     Org Butternut Squash Puree        S1-19189OBT            Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          <10
       7/24/2019       Citrofrut                         5304146     Org Kent Mango Puree              4GIU350636             Accepted                                                 Deibel        As Purchased       100            19             100           <10        100          <10
       7/21/2019       Yamco, LLC                        5314072     Org Butternut Squash Puree        S1-19184OBT            Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          <10
       7/21/2019       Camerican International Inc.       47900      IQF Org Zucchini                    11-28-17             Obsolete                                                 Deibel        As Purchased       100            <10            100           <10        100          <10
       7/21/2019       Philadelphia Macaroni Company      61900      Org Pasta Rings                     07/11/19             Rejected                                            Eurofins/Covance   As Purchased       100            17             100           127        100          <10
       7/17/2019       Del Mar Food Products Corp.        13600      Org Strawberry Puree              7813-190522            Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          14
       7/17/2019       Del Mar Food Products Corp.        13600      Org Strawberry Puree              7813-190521            Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          <10
       7/17/2019       Del Mar Food Products Corp.        13600      Org Strawberry Puree              7813-190520            Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          <10
                                                                                                                                                   Rejection based on non-Heavy
       7/17/2019       Byrne Hollow Farm                 5301076     Org Whole Milk Yogurt                9/2/19              Rejected                   Metal related spec            Deibel                           N/A            N/A            N/A           N/A        N/A          N/A
                                                                                                                                                   Rejection based on non-Heavy
       7/17/2019       Grimmway Farms                    5314203     Org Red Beet Puree              M13098A1B82C             Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                                        100            <10            100           <10        100          <10




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                                                                                                                                                                                                                          Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                           Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name             Item Number       Product Description              Lot Code               Status               Comments on Status                      Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                               On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                             (ppb)                                        (ppb)      (ppb)
                                                                                                                                                    The inorganic arsenic levels were
       7/11/2019       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour               B160007679             Accepted                      below 100 ppb                   Deibel        As Purchased
                                                                                                                                                                                                                              100            101            100           19         100           13
                                                                                                                                                     Rejection based on non-Heavy
        7/9/2019       Grain Millers                      471011     Org Quick Oats                       190625A               Rejected                   Metal related spec           Eurofins/Covance   As Purchased
                                                                                                                                                                                                                              100            9.77           100           15         100            5
        7/5/2019       Olam SVI                           70232      Org Diced Tomatoes                 LD18072114             Accepted                                                      Deibel        As Purchased       100             <10           100           16         100          <10
        7/5/2019       Olam SVI                           463134     Org Tomato Paste                   LA18072204             Accepted                                                      Deibel        As Purchased       100             <10           100           75         100          <10
        7/3/2019       Tradin Organic                     70195      Org Pineapple Juice Conc      QNA1910-PJC-0406CA26        Accepted                                                      Deibel        As Purchased       100            <100           100          <10         100          <10
        7/3/2019       Tradin Organic                     70195      Org Pineapple Juice Conc      QN1A1910-PJC-0409EN23       Accepted                                                      Deibel        As Purchased       100             98            100          <10         100          <10
        7/2/2019       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour               B160007678             Accepted                                                 Eurofins/Covance   As Purchased       100             98            100           19         100          12
        7/2/2019       Arrowhead Mills                   5303040     Org Spelt Flour                     13JUN20               Accepted                                                 Eurofins/Covance   As Purchased       100             9.9           100          32.3        100           5
       6/28/2019       Grain Millers                      57400      Org Oat Flour                        190616A              Accepted                                                 Eurofins/Covance   As Purchased       100             <10           100          12.1        100           5
       6/28/2019       Grain Millers                      57400      Org Oat Flour                        190610A              Accepted                                                 Eurofins/Covance   As Purchased       100             <10           100           16         100           5
       6/28/2019       Grain Millers                      55300      Org Barley Flour                     190605A              Accepted                                                 Eurofins/Covance   As Purchased       100             <10           100          24.6        100           5
       6/27/2019       Townsend Farms                     70030      Org Blueberry Puree               T030119 Chile           Accepted                                                      Deibel        As Purchased       100             <10           100          <10         100          <10
       6/21/2019       Yamco, LLC                        5314163     Org Sweet Potato Puree            S1-19140ORT             Accepted                                                      Deibel        As Purchased       100             <10           100          <10         100          26
       6/21/2019       Yamco, LLC                        5314163     Org Sweet Potato Puree            S1-19133ORT             Accepted                                                      Deibel        As Purchased       100             13            100          <10         100          29
       6/19/2019       ITI Tropicals                       8500      Org Banana Puree                1970 PO# US00943          Accepted                                                      Deibel        As Purchased       100             <10           100          <10         100          <10
       6/19/2019       Freeze Pack Inc                    38900      Org Diced Onions                    FL139872              Accepted                                                      Deibel        As Purchased       100             <10           100          <10         100          <10
       6/19/2019       CI Potosi SAS                      70142      Org Mango Puree                      9419102              Accepted                                                      Deibel        As Purchased       100             <10           100          <10         100          <10
       6/19/2019       Firebird Artisan Mills              57600     Org Brown Rice Flour                F19-00287         Deviation Approved       Accepted on deviation 20190127
                                                                                                                                                                                        Eurofins/Covance   As Purchased
                                                                                                                                                                                                                              100            309            100           23         100          <10
       6/17/2019       Grain Millers                      57800      Org Lo Protein Wheat Flour            190602A             Accepted                                                 Eurofins/Covance   As Purchased       100            9.8            100          30.1        100            5
       6/14/2019       Townsend Farms                     12900      Org Raspberry Puree                   T060319             Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       6/14/2019       Townsend Farms                     12900      Org Raspebrry Puree                   T052919             Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
        6/5/2019       Townsend Farms                     12900      Org Raspberry Puree                  T012919A             Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
        6/5/2019       Townsend Farms                     12900      Org Raspberry Puree                  T012819D             Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
        6/4/2019       Byrne Hollow Farm                 5301076     Org Whole Milk Yogurt                  7/20/19            Accepted                                                      Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
        6/3/2019       Tradin Organic                     70340      Org Orange Juice Conc                6JA19120A            Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
        6/3/2019       Diana Food Equador S.A.             8500      Org Banana Puree                        91212             Rejected                                                      Deibel        As Purchased       100            170            100          <10         100          <10
       5/30/2019       Firebird Artisan Mills             57200      Org Green Lentil Flour               F19-00080            Accepted                                                 Eurofins/Covance   As Purchased       100            <10            100          8.25        100            5
       5/30/2019       Global Food Ingredients           5304146     Org Kent Mango Puree                4GHU350851            Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/30/2019       Townsend Farms                     70030      Org Blueberry Puree               T051719B Chile          Accepted                                                      Deibel        As Purchased       100             12            100          <10         100          <10
       5/30/2019       Townsend Farms                     70030      Org Blueberry Puree             T051719A Argenitina       Accepted                                                      Deibel        As Purchased       100             12            100          <10         100          <10
       5/30/2019       Healthy Food Ingredients          5314065     Org Yellow Split Pea Powder           19IR2921            Accepted                                                      Deibel        As Purchased       100            9.93           100          15.9        100            5
       5/30/2019       Grain Millers                      55300      Org Barley Flour                      190522A             Accepted                                                 Eurofins/Covance   As Purchased       100            9.76           100          14.3        100            5
       5/24/2019       Townsend Farms                     12900      Org Raspberry Puree                   T050719             Accepted                                                      Deibel        As Purchased       100            <10            100           12         100          <10
       5/24/2019       Townsend Farms                     70030      Org Blueberry Puree              T041119 Argentina        Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/24/2019       Townsend Farms                     70030      Org Blueberry Puree             T050319B Argentina        Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/24/2019       Townsend Farms                     70030      Org Blueberry Puree               T050319A Chile          Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/24/2019       Townsend Farms                     12900      Org Raspberry Puree                   T050819             Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/24/2019       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160007677            Accepted                                                 Eurofins/Covance   As Purchased       100             70            100          17.7        100           20
       5/16/2019       Byrne Hollow Farm                 5301076     Org Whole Milk Yogurt                   7/2/19            Accepted                                                      Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       5/16/2019       P&H Millling                       471152     Org Soft White Wheat Flour             908511             Accepted                                                 Eurofins/Covance   As Purchased       100            <10            100          19.3        100          9.51
       5/13/2019       Yamco, LLC                        5314163     Org Sweet Potato Puree              S1-19119ORT           Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100           19
       5/13/2019       Townsend Farms                     12900      Org Raspberry Puree                   T030419             Accepted                                                      Deibel        As Purchased       100            <10            100           15         100          <10
       5/13/2019       Townsend Farms                     70030      Org Blueberry Puree                T050219C Chile         Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/13/2019       Townsend Farms                     70030      Org Blueberry Puree             T050219A Argentina        Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/13/2019       Townsend Farms                     70030      Org Blueberry Puree             T042519B Argentina        Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/13/2019       Townsend Farms                     70030      Org Blueberry Puree             T042519A Chile 8:15       Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10
       5/13/2019       Townsend Farms                     70030      Org Blueberry Puree             T042519A Chile 7:30       Accepted                                                      Deibel        As Purchased       100            <10            100          <10         100          <10



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                                                                                                                                                                                                                  Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                   Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name               Item Number          Product Description            Lot Code                 Status               Comments on Status         Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                       On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                     (ppb)                                        (ppb)      (ppb)
       5/13/2019       Townsend Farms                          12900      Org Raspberry Puree                 T041219               Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       5/10/2019       ITI Tropicals                            8500      Org Banana Puree           7616/1970 2A 19 AS 065-M       Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       5/10/2019       ITI Tropicals                            8500      Org Banana Puree           7617/1970 2A 19 AS 063-M       Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       5/10/2019       Bolt House                            5314134      Org Carrot Puree                 BJ219APR25A              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       5/10/2019       Bolt House                            5314134      Org Carrot Puree                 BJ219APR17A              Accepted                                         Deibel        As Purchased       100              14           100            <10        100         <10
       5/10/2019       Yamco, LLC                            5314163      Org Sweet Potato Puree           S1-19112ORT              Accepted                                         Deibel        As Purchased       100              13           100            <10        100          23
        5/6/2019       Daawat Foods/Nature Bio-Foods         5303133      Org Brown Rice Flour              B160007676              Rejected                                    Eurofins/Covance   As Purchased       100            134.3          100            85.4       100         15.9
        5/3/2019       Grain Millers                          471138      Org Whole Wheat Fine Flour          190419A               Accepted                                    Eurofins/Covance   As Purchased       100             9.65          100            36.5       100           5
        5/1/2019       CI Potosi SAS                           70142      Org Mango Puree                    33718102               Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       4/30/2019       Grain Millers                           55300      Org Barley Flour                    190416A               Accepted                                    Eurofins/Covance   As Purchased       100             <10           100            7.62       100           5
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                28L2 19076              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                32L2 19077              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       4/26/2019       Grain Millers                          471011      Org Quick Oats                      190410A               Accepted                                    Eurofins/Covance   As Purchased       100             32.1          100            14.5       100           5
       4/26/2019       Eco Holding                           5304024      Org Pear Puree                     5L2 19060              Accepted                                         Deibel        As Purchased       100              22           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                 4L2 19071              Accepted                                         Deibel        As Purchased       100              18           100            <10        100         <10
       4/26/2019       Eco Holding                           5304024      Org Pear Puree                     1L2 19059              Accepted                                         Deibel        As Purchased       100              18           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                46L2 19085              Accepted                                         Deibel        As Purchased       100              17           100            <10        100         <10
       4/26/2019       Eco Holding                           5304024      Org Pear Puree                     7L2 19073              Accepted                                         Deibel        As Purchased       100              15           100            <10        100         <10
       4/26/2019       Eco Holding                           5304024      Org Pear Puree                    15L2 19078              Accepted                                         Deibel        As Purchased       100              14           100            <10        100         <10
       4/26/2019       Eco Holding                           5304024      Org Pear Puree                     3L1 19090              Accepted                                         Deibel        As Purchased       100              14           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                 9L2 19072              Accepted                                         Deibel        As Purchased       100              13           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                45L2 19084              Accepted                                         Deibel        As Purchased       100              13           100            <10        100         <10
       4/26/2019       Townsend Farms                          70030      Org Blueberry Puree           T041519 Argentina           Accepted                                         Deibel        As Purchased       100              12           100            <10        100         <10
       4/26/2019       Townsend Farms                          70030      Org Blueberry Puree            T041219 Argentina          Accepted                                         Deibel        As Purchased       100              11           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                18L2 19075              Accepted                                         Deibel        As Purchased       100              11           100            <10        100         <10
       4/26/2019       Eco Holding                           5304052      Org LA Apple Puree                40L2 19081              Accepted                                         Deibel        As Purchased       100              11           100            <10        100         <10
       4/24/2019       Clofine Dairy                           89900      Tofu Powder                   2019-095 BAG#180            Accepted                                         Deibel        As Purchased       100              13           100             34        100         <10
       4/24/2019       Clofine Dairy                           89900      Tofu Powder                   2019-095 BAG#220            Accepted                                         Deibel        As Purchased       100              13           100             40        100         <10
       4/18/2019       Byrne Hollow Farm                     5301076      Org Whole Milk Yogurt                6/6/19               Accepted                                         Deibel                           N/A             N/A           N/A            N/A        N/A         N/A
       4/10/2019       Andersons Purity Foods       Sample - Soft Red Wheat
                                                                          Org Soft Red Wheat Flour          LSORGW18          New Item Qualification                            Eurofins/Covance   As Purchased       100             9.99          100            39.8       100         8.31
        4/9/2019       Meduri Farms                         HI100149      Org Blueberry Crumbles               169914               Accepted                                         Deibel        As Purchased       100              26           100            <10        100         <10
        4/5/2019       Abre Farms                            5314239      Org Green Bean Puree                 267-17               Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/5/2019       McCutcheon Enterpirises Inc.            23300      Org Whole Raisins                    9086C                Obsolete                                         Deibel        As Purchased       100              21           100            <10        100         <10
        4/3/2019       George Chiala Farms                   5314109      IQF Organic Leek              FG31099-8110BB06            Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/3/2019       SVZ                                   5314072      Org Butternut Squash Puree        1000316854              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/3/2019       Del Mar Food Products Corp.             13600      Org Strawberry Puree             7813-190319              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/3/2019       Del Mar Food Products Corp.             13600      Org Strawberry Puree             7813-190311              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/3/2019       Del Mar Food Products Corp.             13600      Org Strawberry Puree             7813-190312              Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/3/2019       Fresno Cooperative Raisin Growers, Inc. 23300      Org Whole Raisins                   16-8057               Accepted                                         Deibel        As Purchased       100              20           100            <10        100         <10
        4/3/2019       Grimmway Farms                          49400      Org Diced Carrots 3/8"            82545,6,7,8J            Accepted                                         Deibel        As Purchased       100              14           100             25        100         <10
        4/3/2019       Grain Millers                  Sample - Soft White Soft White Wheat Flour              190314A         New Item Qualification                            Eurofins/Covance   As Purchased       100             9.97          100            28.3       100           5
        4/2/2019       Alca Trading                             8500      Org Banana Puree            190221/1/22 BPA2B/B1          Accepted                                         Deibel        As Purchased       100             <10           100            <10        100         <10
        4/2/2019       Yamco, LLC                            5314072      Org Butternut Squash Puree       S1-19077OBT              Obsolete                                         Deibel        As Purchased       100             <10           100            <10        100         <10
       3/30/2019       Eco Holding                           5304054      Org Peach Puree                   15L2 19049              Accepted                                         Deibel        As Purchased       100              26           100            <10        100         <10
       3/30/2019       Eco Holding                           5304054      Org Peach Puree                    9L2 19042              Accepted                                         Deibel        As Purchased       100              26           100            <10        100         <10
       3/30/2019       Eco Holding                           5304054      Org Peach Puree                    1L2 19021              Accepted                                         Deibel        As Purchased       100              24           100            <10        100         <10
       3/30/2019       Eco Holding                           5304054      Org Peach Puree                   13L2 19048              Accepted                                         Deibel        As Purchased       100              23           100            <10        100         <10
       3/30/2019       Eco Holding                           5304054      Org Peach Puree                   12L2 19048              Accepted                                         Deibel        As Purchased       100              23           100            <10        100         <10




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                                                                                                                              Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                         Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                          Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name               Item Number       Product Description            Lot Code                  Status               Comments on Status                  Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                              On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                            (ppb)                                        (ppb)      (ppb)
       3/30/2019       Eco Holding                           5304054   Org Peach Puree                       8L2 19041             Accepted                                                 Deibel        As Purchased       100             23            100            <10        100         <10
       3/30/2019       Eco Holding                           5304054   Org Peach Puree                       6L2 19034             Accepted                                                 Deibel        As Purchased       100             20            100            <10        100         <10
       3/30/2019       Eco Holding                           5304054   Org Peach Puree                       3L2 19034             Accepted                                                 Deibel        As Purchased       100             17            100            <10        100         <10
       3/29/2019       Byrne Hollow Farm                     5301076   Org Whole Milk Yogurt                  5/16/19              Accepted                                                 Deibel                           N/A            N/A            N/A            N/A        N/A         N/A
       3/26/2019       ITI Tropicals                            8500   Org Banana Puree                  2A 18 ASE 277-M           Accepted                                                 Deibel        As Purchased       100             21            100            <10        100         <10
       3/22/2019       Citrofrut                             5304146   Org Kent Mango Puree                4HHU351215              Accepted                                                 Deibel        As Purchased       100             15            100            <10        100         <10
       3/22/2019       Firebird Artisan Mills                5303042   Org Quinoa Flour                      F19-00093             Accepted                                            Eurofins/Covance   As Purchased       100            9.95           100             43        100         5.17
       3/21/2019       Seenergy Foods Ltd                    5314244   IQF Org White Cannellini Beans 21 Feb 2019 /Lot 0529        Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/20/2019       Townsend Farms                          70030   Org Blueberry Puree                T030519 Chile            Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/20/2019       Townsend Farms                          70030   Org Blueberry Puree                T030619 Chile            Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/20/2019       Townsend Farms                          70030   Org Blueberry Puree                T031219 Chile            Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/20/2019       Townsend Farms                          70030   Org Blueberry Puree              T031219 Argentina          Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/20/2019       Townsend Farms                          70030   Org Blueberry Puree                T030719 Chile            Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/15/2019       Townsend Farms                          70030   Org Blueberry Puree                T030419 CHILE            Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/15/2019       Townsend Farms                          70030   Org Blueberry Puree              T030419 Argentina          Accepted                                                 Deibel        As Purchased       100             11            100            <10        100         <10
       3/15/2019       Grain Millers                         5303011   Org Oat Fiber                          190306A              Accepted                                            Eurofins/Covance   As Purchased       100            9.87           100            5.27       100           5
       3/15/2019       Grain Millers                          471011   Org Quick Oats                         190305A              Accepted                                            Eurofins/Covance   As Purchased       100            9.84           100            11.4       100           5
       3/15/2019       Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                      16-8031              Rejected                                                 Deibel        As Purchased       100             53            100            <10        100         302
       3/15/2019       Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                      16-8010              Rejected                                                 Deibel        As Purchased       100             49            100            <10        100         388
       3/14/2019       Bolt House                            5314134   Org Carrot Puree                    BJ219FEB27A             Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       3/14/2019       Yamco, LLC                            5314163   Org Sweet Potato Puree              S1-19056ORT             Accepted                                                 Deibel        As Purchased       100             28            100            <10        100          21
       3/14/2019       Yamco, LLC                            5314163   Org Sweet Potato Puree              S1-19064ORT             Accepted                                                 Deibel        As Purchased       100             21            100            <10        100          34
       3/14/2019       Bolt House                            5314134   Org Carrot Puree                    BJ219FEB01A             Accepted                                                 Deibel        As Purchased       100             16            100            <10        100         <10
       3/14/2019       Bolt House                            5314134   Org Carrot Puree                    BJ219FEB13A             Accepted                                                 Deibel        As Purchased       100             14            100            <10        100         <10
       3/14/2019       SVZ                                   5314072   Org Butternut Squash Puree           1000315007             Accepted                                                 Deibel        As Purchased       100             11            100            <10        100         <10
       3/11/2019       Grain Millers                           57400   Org Oat Flour                          190301A              Accepted                                            Eurofins/Covance   As Purchased       100            9.96           100            10.3       100           5
       3/11/2019       P&H Millling                           471152   Org Soft White Wheat Flour              905611              Accepted                                            Eurofins/Covance   As Purchased       100            9.93           100             19        100           5
        3/7/2019       Byrne Hollow Farm                     5301076   Org Whole Milk Yogurt                  26APR19              Accepted                                                 Deibel                           N/A            N/A            N/A            N/A        N/A         N/A
        3/7/2019       National Frozen Foods Corporation       49800   IQF Org Green Peas                    4276-122              Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
        3/7/2019       Townsend Farms                          70030   Org Blueberry Puree                T022519 CHILE            Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
        3/7/2019       National Frozen Foods Corporation       49900   Org Cut Corn             4261-20 AND 4103-28 COMPOSITE      Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
        3/5/2019       SVZ                                   5304135   Org Apricot Puree                    1000300452             Accepted                                                 Deibel        As Purchased       100             14            100            <10        100         <10
        3/1/2019       Tree Top                              5304199   Org Apple Puree Brix 21            190491526100             Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
        3/1/2019       Tree Top                              5304199   Org Apple Puree Brix 22            190501526100             Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
        3/1/2019       P&H Millling                           471152   Org Soft White Wheat Flour              903911              Accepted                                            Eurofins/Covance   As Purchased       100             20            100            26.1       100           5
        3/1/2019       P&H Millling                           471152   Org Soft White Wheat Flour              904211              Accepted                                            Eurofins/Covance   As Purchased       100             19            100            24.1       100           5
        3/1/2019       BA Carlson                              70195   Org Pineapple Juice Conc             ZPIC36025C             Obsolete                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       2/27/2019       Imperial Valley Foods                HI100114   Org Vegetable Onion Puree
                                                                                              9045 Grower: Country Sweet Produce   Accepted                                                 Deibel        As Purchased       100            <10            100            <10        100         <10
       2/27/2019       Firebird Artisan Mills                5303042   Org Quinoa Flour                OQNAFL F18-00813            Accepted                                            Eurofins/Covance   As Purchased       100            19.8           100            30.2       100           5
       2/27/2019       Grain Millers                           58000   Org Oat Flakes                         190216A              Accepted                                            Eurofins/Covance   As Purchased       100             19            100            8.32       100           5
       2/27/2019       Grain Millers                           57400   Org Oat Flour                          190216A              Accepted                                            Eurofins/Covance   As Purchased       100            18.9           100            11.1       100           5
       2/27/2019       George Chiala Farms                     70086   Org Garlic Puree             FG30057 / 30-GOP00-40          Accepted                                                 Deibel        As Purchased       100             17            100             18        100         <10
                                                                                                                                                        Rejection based on non-Heavy
       2/27/2019       Harvest Foods                         45600     Org IQF Spinach                      4796                   Rejected                   Metal related spec            Deibel        As Purchased
                                                                                                                                                                                                                             100            <10            100           41         100          <10
                                                                                                                                                        Rejection based on non-Heavy
       2/27/2019       Grain Millers                         5303011   Org Oat Fiber                      190219A                  Rejected                   Metal related spec       Eurofins/Covance   As Purchased
                                                                                                                                                                                                                             100             20            100          6.52        100            5
       2/27/2019       Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                  16-8047                  Rejected                                                 Deibel        As Purchased       100             17            100           <10        100          144
                                                                                                                                                        Rejection based on non-Heavy
       2/27/2019       Grain Millers                        471011     Org Quick Oats                     190220A                  Rejected                   Metal related spec       Eurofins/Covance   As Purchased
                                                                                                                                                                                                                             100            12.7           100          12.8        100            5
       2/25/2019       Townsend Farms                       70030      Org Blueberry Puree              T021319 Chile              Accepted                                                 Deibel        As Purchased       100            <10            100           <10        100          <10



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                                                                                                                                  Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                            Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                             Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name               Item Number       Product Description            Lot Code                    Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                                 On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                               (ppb)                                        (ppb)      (ppb)
       2/19/2019       Grain Millers                        471103     Org 70 Oat Flour                   190207A                    Accepted                                             Eurofins/Covance   As Purchased       100            <10            100            20.8       100          5
       2/19/2019       Townsend Farms                       70030      Org Blueberry Puree              T021219 Chile                Accepted                                                  Deibel        As Purchased       100            <10            100            <10        100         <10
       2/19/2019       Grimmway Farms                        2590      Org Green Beans                   81712, 3, 4 I               Accepted                                                  Deibel        As Purchased       100            <10            100            <10        100         <10
       2/19/2019       Townsend Farms                       70030      Org Blueberry Puree              T021119 Chile                Accepted                                                  Deibel        As Purchased       100            15             100            <10        100         <10
       2/19/2019       Bolt House                          5314134     Org Carrot Puree                 BJ118OCT05A                  Accepted                                                  Deibel        As Purchased       100            11             100             11        100         <10
       2/19/2019       Red Ape Cinnamon                      40500     Org Cinnamon Powder                 180151            Deviation Approved          Accepted on deviation 20190045
                                                                                                                                                                                               Deibel        As Purchased
                                                                                                                                                                                                                                100             20            100           102        100           40
                                                                                                                                                          Rejection based on non-Heavy
       2/19/2019       Harvest Foods                         45600     Org IQF Spinach                      2476                     Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                100             15            100           46         100          <10
                                                                                                                                                          Rejection based on non-Heavy
       2/19/2019       Harvest Foods                           45600   Org IQF Spinach                         2477                  Rejected                   Metal related spec              Deibel       As Purchased
                                                                                                                                                                                                                                100             15            100           49         100          <10
       2/15/2019       Tradin Organic                          70195   Org Pineapple Juice Conc     QNA1902-PJC-0114EN02             Accepted                                                  Deibel        As Purchased       100             30            100           16         100          <10
       2/15/2019       Tradin Organic                          70195   Org Pineapple Juice Conc     QNA1902-PJC-0111EN01             Accepted                                                  Deibel        As Purchased       100             29            100           16         100          <10
       2/13/2019       Townsend Farms                          12900   Org Raspberry Puree                   T012119                 Accepted                                                  Deibel        As Purchased       100            <10            100           19         100           11
       2/13/2019       CI Potosi SAS                           70142   Org Mango Puree                      21217102                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100           11
       2/13/2019       Townsend Farms                          12900   Org Raspberry Puree                   T020519                 Accepted                                                  Deibel        As Purchased       100            <10            100           19         100           19
       2/13/2019       Townsend Farms                          12900   Org Raspberry Puree                   T020619                 Accepted                                                  Deibel        As Purchased       100            <10            100           15         100           21
       2/13/2019       Townsend Farms                          70030   Org Blueberry Puree               T020719 Chile               Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/13/2019       Bolt House                            5314134   Org Carrot Puree                  BJ219JAN14A                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/13/2019       Bolt House                            5314134   Org Carrot Puree                  BJ319JAN15A                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/13/2019       Bolt House                            5314134   Org Carrot Puree                  BJ219JAN16A                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/13/2019       Bolt House                            5314134   Org Carrot Puree                  BJ219JAN23A                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/13/2019       CI Potosi SAS                           70142   Org Mango Puree                      16517102                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/13/2019       Victor Packing                         472030   Org Raisin Paste                    255020419                 Accepted                                                  Deibel        As Purchased       100             31            100          <10         100          <10
       2/13/2019       Tree Top                              5304199   Org Apple Puree Brix 20 300399- 190351516100 COMP.            Accepted                                                  Deibel        As Purchased       100             13            100          <10         100          <10
       2/12/2019       Grain Millers                           57400   Org Oat Flour                        190202A                  Accepted                                             Eurofins/Covance   As Purchased       100            23.6           100          12.4        100            5
       2/12/2019       Grain Millers                         5308029   Org Brown Flax Milled               PO 755-15                 Rejected                                                  Deibel        As Purchased       100            <10            100          110         100          12.3
       2/12/2019       Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                     16-7091                 Rejected                                                  Deibel        As Purchased       100             34            100          <10         100          110
       2/11/2019       Yamco, LLC                            5314163   Org Sweet Potato Puree            S1-19021ORT                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100           32
       2/11/2019       Del Mar Food Products Corp.             13600   Org Strawberry Puree               7813-180827                Accepted                                                  Deibel        As Purchased       100            <10            100           45         100          <10
       2/11/2019       ITI Tropicals                            8500   Org Banana Puree                 2A 19 ASE 012M               Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/11/2019       Townsend Farms                          70030   Org Blueberry Puree              T012819 Canada               Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       2/11/2019       Grimmway Farms                          49400   Org Diced Carrots 3/8"            9028,5,6,7,8 J              Accepted                                                  Deibel        As Purchased       100             11            100          <10         100          <10
        2/7/2019       Montana Flour & Grains                5303053   Org Kamut Flour                   KMFCA48347F                 Accepted                                             Eurofins/Covance   As Purchased       100            <10            100          60.2        100            5
        2/7/2019       Grain Millers                           57400   Org Oat Flour                        190201A                  Accepted                                             Eurofins/Covance   As Purchased       100             29            100          <10         100          14.6
        2/4/2019       Healthy Food Ingredients              5314065   Org Yellow Split Pea Powder          18SS2745                 Accepted                                             Eurofins/Covance   As Purchased       100            <10            100          7.41        100            5
        2/4/2019       P&H Millling                           471152   Org Soft White Wheat Flour             902711                 Accepted                                             Eurofins/Covance   As Purchased       100            <10            100          24.4        100            5
        2/4/2019       Grain Millers                           57400   Org Oat Flour                        190127A                  Accepted                                             Eurofins/Covance   As Purchased       100            38.3           100          13.2        100            5
        2/4/2019       Grain Millers                           57400   Org Oat Flour                        190126A                  Accepted                                             Eurofins/Covance   As Purchased       100            21.8           100          14.5        100            5
        2/1/2019       Starwest Botanicals                     40500   Org Cinnamon Powder                  92950-50                 Rejected                                                  Deibel        As Purchased       100             23            100          163         100           45
       1/30/2019       Sure Fresh Produce                    5314146   Org IQF Celery                      SF-608619                 Accepted                                                  Deibel        As Purchased       100            <10            100           26         100          <10
       1/30/2019       Tradin Organic                        5304141   Org Asepic Blueberry Puree
                                                                                                310034-01, 310224-02, 310224-06      Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       1/30/2019       Bolt House                            5314134   Org Carrot Puree                  BJ118DEC12A                 Accepted                                                  Deibel        As Purchased       100            <10            100          <10         100          <10
       1/30/2019       Grimmway Farms                        5314238   Org Rutabaga Puree                10837A3B99A                 Accepted                                                  Deibel        As Purchased       100             15            100          <10         100          <10
       1/30/2019       Bolt House                            5314134   Org Carrot Puree                  BJ219JAN11A                 Accepted                                                  Deibel        As Purchased       100             11            100          <10         100          <10
                                                                                                                                                          Rejection based on non-Heavy
       1/30/2019       Grimmway Farms                      5314203     Org Red Beet Puree              M13338A2B82C                  Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                                100             12            100           <10        100          <10
       1/29/2019       Harvest Foods                        45600      Org IQF Spinach                      4615                     Accepted                                                  Deibel        As Purchased       100            <10            100           47         100          12
       1/29/2019       Yamco, LLC                          5314163     Org Sweet Potato Puree           S1-19014ORT                  Accepted                                                  Deibel        As Purchased       100            <10            100           11         100          16
       1/29/2019       Bolt House                          5314134     Org Carrot Puree                 BJ219JAN09A                  Accepted                                                  Deibel        As Purchased       100            12             100           <10        100          <10




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                                                                   Case 2:21-cv-00678-NRM-AYS                            Document 160-3                          Filed 03/18/22                    Page 10 of 27 PageID
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                                                                                                                                                                                                                   Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                   Spec Based                     Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name          Item Number       Product Description             Lot Code              Status               Comments on Status                  Lab                             Limit                                       Result      Limit
                                                                                                                                                                                                       On                             (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                      (ppb)                                        (ppb)      (ppb)
       1/28/2019       Grain Millers                    57400      Org Oat Flour                       190118A             Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            16.8       100          5
       1/25/2019       Del Mar Food Products Corp.      13600      Org Strawberry Puree              7813-180831           Rejected                                                  Deibel         As Purchased       100            14             100            125        100         <10
       1/22/2019       Byrne Hollow Farm               5301076     Org Whole Milk Yogurt               7MAR19              Accepted                                                  Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       1/22/2019       Cebroo Frozen Foods             5314166     IQF Org Chopped Broccoli    Lot 8331/ Field 275 & 280   Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       1/22/2019       ITI Tropicals                     8500      Org Banana Puree BATCH: 2A 18 ASE 276-M DATE: 28.12.2018Accepted                                                  Deibel         As Purchased       100            20             100            <10        100         <10
       1/22/2019       Del Mar Food Products Corp.      13600      Org Strawberry Puree              7813-180901           Accepted                                                  Deibel         As Purchased       100            18             100             20        100         <10
       1/22/2019       Del Mar Food Products Corp.      13600      Org Strawberry Puree              7813-180828           Accepted                                                  Deibel         As Purchased       100            17             100             41        100         <10
       1/22/2019       Del Mar Food Products Corp.      13600      Org Strawberry Puree              7813-180830           Accepted                                                  Deibel         As Purchased       100            17             100            <10        100         <10
       1/22/2019       Del Mar Food Products Corp.      13600      Org Strawberry Puree              7813-180829           Accepted                                                  Deibel         As Purchased       100            16             100            <10        100         <10
       1/22/2019       Tradin Organic                   70195                            PUS180589-01_QNA1819-PJC-0928EN58 Rejected
                                                                   Org Pineapple Juice Conc                                                                                          Deibel         As Purchased       100            139            100            <10        100         <10
                                                                                                                                                 Rejection based on non-Heavy
       1/22/2019       Tradin Organic                   70340      Org Orange Juice Conc        PUS180195-30_6JA17164A      Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                       100             22            100           <10        100          <10
       1/21/2019       Abre Farms                      5314185     Winter Squash Puree Org             301-18               Accepted                                                 Deibel         As Purchased       100            19             100          <10         100          <10
       1/18/2019       Grain Millers                    57400      Org Oat Flour                      190107A               Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          28.9        100           5
       1/18/2019       SVZ                              16300      Org Peach Puree                   1000305900             Accepted                                                 Deibel         As Purchased       100            12             100          <10         100          <10
                                                                                                                                                 Rejection based on non-Heavy
       1/18/2019       Harvest Foods                    45600      Org IQF Spinach               051918394034-O-3225        Rejected                   Metal related spec            Deibel         As Purchased
                                                                                                                                                                                                                       100            <10            100           <10        100          <10
       1/17/2019       Townsend Farms                   70030      Org Blueberry Puree               T010719 USA            Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          <10
       1/17/2019       Yamco, LLC                      5314072     Org Butternut Squash Puree        S1-18260OBT            Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          <10
       1/17/2019       Yamco, LLC                      5314072     Org Butternut Squash Puree        S1-19007OBT            Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          <10
       1/16/2019       Byrne Hollow Farm               5301076     Org Whole Milk Yogurt               02/28/19             Accepted                                                 Deibel                            N/A            N/A            N/A           N/A        N/A          N/A
       1/11/2019       Yamco, LLC                      5314163     Org Sweet Potato Puree            S1-18360ORT            Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          35
                                                                                                                                                 Rejection based on non-Heavy
        1/9/2019       Grimmway Farms                  5314203     Org Red Beet Puree               M13378A2B82C            Rejected                   Metal related spec            Deibel         As Purchased
                                                                                                                                                                                                                       100            <10            100           <10        100          <10
        1/3/2019       Tradin Organic                  5304052     Org LA Apple Puree                 8141883.1             Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          12
        1/3/2019       Tradin Organic                  5304052     Org LA Apple Puree                 8109567.2             Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          <10
        1/3/2019       Tradin Organic                  5304052     Org LA Apple Puree                 8141883.2             Accepted                                                 Deibel         As Purchased       100            <10            100           <10        100          <10
                                                                                                                                                 Rejection based on non-Heavy
        1/3/2019       Harvest Foods                     45600     Org IQF Spinach                    103068253             Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                       100             10            100           66         100           10
       12/27/2018      Grain Millers                    58000      Org Oat Flakes                      181213A              Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          9.01        100            4
       12/27/2018      P&H Millling                     471152     Org Soft White Wheat Flour           833711              Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          29.4        100            4
       12/27/2018      P&H Millling                     471152     Org Soft White Wheat Flour           833811              Accepted                                            Eurofins/Covance    As Purchased       100            <10            100           31         100          9.19
       12/27/2018      Yamco, LLC                      5314163     Org Sweet Potato Puree           S1-18341ORT             Accepted                                                 Deibel         As Purchased       100            <10            100            9         100           17
       12/27/2018      Bolt House                      5314134     Org Carrot Puree                 BJ118DEC08A             Accepted                                                 Deibel         As Purchased       100            <10            100           32         100          <10
       12/27/2018      Freeze Pack Inc                  38900      Org Diced Onions                    183A334              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Freeze Pack Inc                  38900      Org Diced Onions                    183A335              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Freeze Pack Inc                  38900      Org Diced Onions                    183B333              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Freeze Pack Inc                  38900      Org Diced Onions                    183B334              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Freeze Pack Inc                  38900      Org Diced Onions                    183A336              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Freeze Pack Inc                  38900      Org Diced Onions                    183B335              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Tradin Organic                  5304052     Org LA Apple Puree                 8109567/1             Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Yamco, LLC                      5314163     Org Sweet Potato Puree           S1-18344ORT             Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/27/2018      Starwest Botanicals              40500      Org Cinnamon Powder                 93191-50             Rejected                                                 Deibel         As Purchased       100            19             100          147         100           21
       12/19/2018      Diana Food Equador S.A.           8500      Org Banana Puree                     83343               Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/19/2018      Townsend Farms                   70030      Org Blueberry Puree                 T121018              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/18/2018      Townsend Farms                   70030      Org Blueberry Puree              T121118 USA             Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       12/18/2018      Tradin Organic                   70195      Org Pineapple Juice Conc      QN1819-PJC-1002CA69        Rejected                                                 Deibel         As Purchased       100            140            100          <10         100          <10
       12/17/2018      Grain Millers                    57400      Org Oat Flour                       181203A              Accepted                                            Eurofins/Covance    As Purchased       100            <10            100           18         100            5
       12/17/2018      SVZ                             5314072     Org Butternut Squash Puree        1000313763             Accepted                                                 Deibel         As Purchased       100            13             100          <10         100          <10
                                                                                                                                                 Rejection based on non-Heavy
       12/17/2018      Grimmway Farms                  5314203     Org Red Beet Puree               M13338A2B82C            Rejected                   Metal related spec            Deibel         As Purchased
                                                                                                                                                                                                                       100             17            100           <10        100          <10




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                                                                                                                               Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                         Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                         Spec Based                     Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name                 Item Number       Product Description           Lot Code                Status               Comments on Status                  Lab                             Limit                                       Result      Limit
                                                                                                                                                                                                             On                             (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                            (ppb)                                        (ppb)      (ppb)
       12/12/2018      Bolt House                            5314134     Org Carrot Puree                BJ118NOV21A              Accepted                                                 Deibel         As Purchased       100            14             100             13        100         <10
       12/12/2018      Bolt House                            5314134     Org Carrot Puree                BJ118OCT31A              Rejected                                                 Deibel         As Purchased       100            15             100            122        100         12
       12/6/2018       Tradin Organic                        5304052     Org LA Apple Puree                 8151392               Accepted                                                 Deibel         As Purchased       100            16             100            <10        100         <10
       12/6/2018       Tradin Organic                        5304052     Org LA Apple Puree                 8155704               Accepted                                                 Deibel         As Purchased       100            16             100            <10        100         <10
       12/4/2018       Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt             01/17/19               Accepted                                                 Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       11/27/2018      Townsend Farms                         70030      Org Blueberry Puree             T111218 USA              Accepted                                                 Deibel         As Purchased       100            <10            100            <10        100         <10
       11/27/2018      Bolt House                            5314134     Org Carrot Puree                BJ218OCT26A              Rejected                                                 Deibel         As Purchased       100            <10            100            163        100         <10
       11/27/2018      Bolt House                            5314134     Org Carrot Puree                BJ318OCT29A              Rejected                                                 Deibel         As Purchased       100            <10            100            212        100         <10
       11/27/2018      Bolt House                            5314134     Org Carrot Puree                BJ318OCT30A              Rejected                                                 Deibel         As Purchased       100            <10            100            229        100         <10
                                                                                                                                                       Rejection based on non-Heavy
       11/27/2018      Grimmway Farms                        5314203     Org Red Beet Puree             M13098B4B82C              Rejected                   Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                             100            <10            100           <10        100          <10
       11/19/2018      Cedar Grove Cheese                     93500      Org Cheddar Cheese                  C10-30-18            Accepted                                                 Deibel                            N/A            N/A            N/A          N/A         N/A          N/A
       11/19/2018      Cedar Grove Cheese                     93500      Org Cheddar Cheese                  G10-30-18            Accepted                                                 Deibel                            N/A            N/A            N/A          N/A         N/A          N/A
       11/19/2018      Cedar Grove Cheese                     93500      Org Cheddar Cheese                  E10-30-18            Accepted                                                 Deibel                            N/A            N/A            N/A          N/A         N/A          N/A
       11/19/2018      Yamco, LLC                            5314163     Org Sweet Potato Puree            S1-18309ORT            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          25
       11/14/2018      SVZ                                   5314072     Org Butternut Squash Puree         1000313213            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          11
       11/14/2018      Townsend Farms                         12900      Org Raspberry Puree              T102618 CHILE           Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          14
       11/14/2018      Townsend Farms                         12900      Org Raspberry Puree              T081718 CHILE           Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          17
       11/14/2018      National Frozen Foods Corporation     5314016     Super Sweet Cut Corn             FETH-131-400            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       11/14/2018      Abre Farms                            5314185     Winter Squash Puree Org               287-18             Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       11/14/2018      Abre Farms                            5314185     Winter Squash Puree Org               288-18             Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       11/13/2018      Townsend Farms                         12900      Org Raspberry Puree              T100518 CHILE           Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          12
       11/10/2018      Starwest Botanicals                    40500      Org Cinnamon Powder                 92583-50             Rejected                                                 Deibel         As Purchased       100            20             100          152         100          35
       11/7/2018       LA Cross Milling Company               57400      Org Oat Flour              LOT 18 2C103018 2A103118      Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          6.76        100           5
       11/6/2018       Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt               12/23/18             Accepted                                                 Deibel                            N/A            N/A            N/A          N/A         N/A          N/A
       11/6/2018       Grain Millers                          57400      Org Oat Flour                        181027A             Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          27.7        100           5
       11/6/2018       Pacific Coast Fruit Products Ltd.      12900      Org RaspberryPuree                  101518M              Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       11/6/2018       Bolt House                            5314134     Org Carrot Puree                 BJ218OCT10A             Accepted                                                 Deibel         As Purchased       100            14             100           50         100          <10
       11/6/2018       Bolt House                            5314134     Org Carrot Puree                 BJ118OCT12A             Accepted                                                 Deibel         As Purchased       100            13             100          <10         100          <10
       11/2/2018       Townsend Farms                         12900      Org Raspberry Puree              T102218-Chile           Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       10/30/2018      Townsend Farms                         70030      Org Blueberry Puree               T102218 USA            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       10/30/2018      Townsend Farms                         70030      Org Blueberry Puree               T102318 USA            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       10/24/2018      Yamco, LLC                            5314072     Org Butternut Squash Puree        S1-18285OBT            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       10/24/2018      Yamco, LLC                            5314072     Org Butternut Squash Puree        s1-18288OBT            Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       10/24/2018      Yamco, LLC                            5314072     Org Butternut Squash Puree        S1-18284OBT            Accepted                                                 Deibel         As Purchased       100            11             100          <10         100          <10
       10/24/2018      Starwest Botanicals                    40500      Org Cinnamon Powder                 91888-53             Rejected                                                 Deibel         As Purchased       100            20             100          135         100          31
       10/18/2018      Pacific Coast Fruit Products Ltd.      12900      Org Raspberry Puree                   051718             Accepted                                                 Deibel         As Purchased       100            <10            100          <10         100          <10
       10/16/2018      Montana Flour & Grains                5303053     Org Kamut Flour                  KMFCD18260F             Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          72.2        100           5
       10/11/2018      Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt                11-29-18            Accepted                                                 Deibel                            N/A            N/A            N/A          N/A         N/A          N/A
       10/11/2018      Grain Millers                          471011     Org Quick Oats                       181004A             Accepted                                            Eurofins/Covance    As Purchased       100            <10            100          20.1        100           5
                                                                                                                                                       Rejection based on non-Heavy
       10/11/2018      Tradin Organic                        5304052     Org LA Apple Puree                   8178557               Rejected                 Metal related spec             Deibel        As Purchased
                                                                                                                                                                                                                             100             17            100           <10        100          <10
       10/9/2018       National Frozen Foods Corporation      49800      IQF Org Green Peas                FETH-104-684             Accepted                                               Deibel         As Purchased       100            <10            100          <10         100          <10
       10/9/2018       National Frozen Foods Corporation      49900      Org Cut Corn                      FETH131-822              Accepted                                               Deibel         As Purchased       100            <10            100          <10         100          <10
       10/9/2018       SVZ                                   5314072     Org Butternut Squash Puree         1000285680              Accepted                                               Deibel         As Purchased       100            11             100          <10         100          <10
       10/5/2018       Firebird Artisan Mills                5303042     Org Quinoa Flour                    F18-00614              Accepted                                          Eurofins/Covance    As Purchased       100            <10            100          24.1        100           5
       10/5/2018       Townsend Farms                         70030      Org Blueberry Puree                 T092718A               Accepted                                               Deibel         As Purchased       100            <10            100          <10         100          <10
       10/5/2018       Tradin Organic                        5314235     Org Broccoli1-L8214BA619,
                                                                                      Puree                                         Accepted
                                                                                                   1-L8221BA619,B 1-L8076BA619, 1-L8215BA619                                               Deibel         As Purchased       100            11             100          <10         100          <10
       10/4/2018       P&H Millling                           471152     Org Soft Wheat White Flour            825911               Accepted                                          Eurofins/Covance    As Purchased       100            <10            100          17.2        100           5




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                                                                                                                                 Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                  Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                  Spec Based                     Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name                Item Number       Product Description           Lot Code                  Status               Comments on Status         Lab                             Limit                                       Result      Limit
                                                                                                                                                                                                      On                             (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                     (ppb)                                        (ppb)      (ppb)
       10/4/2018       Grain Millers                          57800      Org Lo Protein Wheat Flour           180926A               Accepted                                   Eurofins/Covance    As Purchased       100            <10            100            37.7       100          5
       10/4/2018       Townsend Farms                         70030      Org Blueberry Puree               T092618A USA             Accepted                                        Deibel         As Purchased       100             15            100            <10        100         <10
       10/4/2018       Yamco, LLC                            5314072     Org Butternut Squash Puree         S1-18254OBT             Accepted                                        Deibel         As Purchased       100             14            100            <10        100         <10
       10/1/2018       Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt                16NOV18               Accepted                                        Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       9/28/2018       Fruitrade International Inc.          5304164     Org Prune Puree                     C82400101              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         95
       9/24/2018       Grain Millers                          55300      Org Barley Flour                     180912A               Accepted                                   Eurofins/Covance    As Purchased       100            <10            100            10.3       100          5
       9/19/2018       George Chiala Farms                    70086      Org Garlic Puree          FG30057-8187BB01 Retain #15      Accepted                                        Deibel         As Purchased       100             18            100             17        100         <10
       9/17/2018       Tradin Organic                        5304052     Org LA Apple Puree                   10049583              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       9/17/2018       Townsend Farms                         70030      Org Blueberry Puree                   T090618              Accepted                                        Deibel         As Purchased       100             20            100            <10        100         <10
       9/17/2018       George Chiala Farms                    70086      Org Garlic Puree           FG30057-8187BB01 Retain#14      Accepted                                        Deibel         As Purchased       100             19            100             19        100         <10
       9/12/2018       Townsend Farms                         12900      Org Raspberry Puree                   T083118              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         11
       9/12/2018       Bolt House                            5314134     Org Carrot Puree                   BJ218JUL27A             Accepted                                        Deibel         As Purchased       100            <10            100             16        100         <10
       9/12/2018       Diana Food Equador S.A.                 8500      Org Banana Puree                       82212               Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       9/10/2018       Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt                10/27/18              Accepted                                        Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       9/10/2018       Lamb Weston - Paterson                 49800      IQF Org Green Peas            PO #A100996, A100997         Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       9/10/2018       Townsend Farms                         70030      Org Blueberry Puree                T082818 USA             Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       9/10/2018       Fruitrade International Inc.          5304164     Org Prune Puree                     C82330101              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
        9/5/2018       Townsend Farms                         70030      Org Blueberry Puree               T082318A USA             Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
        9/5/2018       George Chiala Farms                    70096      Org Ginger Puree               FG30204-8101BB03            Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
        9/5/2018       Yamco, LLC                            5314163     Org Sweet Potato Puree             S1-18209ORT             Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
        9/5/2018       Grimmway Frozen Foods                 5314238     Org Rutabaga Puree               M10837A3B99A              Accepted                                        Deibel         As Purchased       100             11            100            <10        100         <10
       8/30/2018       Tradin Organic                         70340      Org Orange Juice Conc               6JA17170A              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       8/29/2018       Pacific Coast Fruit Products Ltd.     5304062     Org Cranberry Puree                    081218              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         48
       8/29/2018       Del Mar Food Products Corp.            13600      Org Strawberry Puree               7813-180818             Accepted                                        Deibel         As Purchased       100            <10            100             15        100         <10
       8/28/2018       Byrne Hollow Farm                     5301076     Org Whole Milk Yogurt                13OCT18               Accepted                                        Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       8/28/2018       Starwest Botanicals                     1270      Org Basil Leaf Powder                90826-53              Rejected                                        Deibel         As Purchased       100            130            100             27        100         391
       8/23/2018       P&H Millling                           471152     Org Soft Wheat White Flour             821011              Accepted                                   Eurofins/Covance    As Purchased       100            <10            100             22        100         <10
       8/23/2018       Townsend Farms                         70030      Org Blueberry Puree               T081018A USA             Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       8/23/2018       Grimmway Farms                         49400      Org Diced Carrots 3/8"          82061,2,3,5,6,7,8 J        Accepted                                        Deibel         As Purchased       100             12            100            <10        100         <10
       8/23/2018       P&H Millling                           471152     Org Soft Wheat White Flour             821811              Accepted                                   Eurofins/Covance    As Purchased       100             11            100             17        100         <10
       8/21/2018       Natural Dairy Products                 Z01004     Org Heavy Cream                      081318-7              Accepted                                        Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       8/21/2018       Grain Millers                          57400      Org Oat Flour                        180814A               Accepted                                   Eurofins/Covance    As Purchased       100            <10            100            13.2       100          5
       8/21/2018       Grain Millers                          57400      Org Oat Flour                        180813A               Accepted                                   Eurofins/Covance    As Purchased       100            <10            100             15        100          5
       8/21/2018       Grain Millers                          57400      Org Oat Flour                        180811A               Accepted                                   Eurofins/Covance    As Purchased       100            <10            100            18.7       100          5
       8/21/2018       Townsend Farms                         70030      Org Blueberry Puree               T072018A USA             Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       8/21/2018       Townsend Farms                         70030      Org Blueberry Puree               T072218A USA             Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       8/17/2018       Olam SVI                               70232      Org Diced Tomatoes                 LD18072120              Accepted                                        Deibel         As Purchased       100            <10            100             11        100         <10
       8/17/2018       Olam SVI                               70232      Org Diced Tomatoes                 LD18072118              Accepted                                        Deibel         As Purchased       100            <10            100             12        100         <10
       8/17/2018       Townsend Farms                         12900      Org Raspberry Puree                   T053018              Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       8/17/2018       Fruitrade International Inc.          5304164     Org Prune Puree                     C82110101              Accepted                                        Deibel         As Purchased       100             17            100            <10        100         <10
       8/17/2018       Townsend Farms                         70030      Org Blueberry Puree            T080918A Argentina          Accepted                                        Deibel         As Purchased       100             14            100            <10        100         <10
       8/17/2018       Townsend Farms                         70030      Org Blueberry Puree                 T080618A               Accepted                                        Deibel         As Purchased       100             12            100            <10        100         <10
       8/17/2018       Townsend Farms                         70030      Org Blueberry Puree                 T072118A               Accepted                                        Deibel         As Purchased       100             12            100            <10        100         <10
       8/17/2018       Olam SVI                               70232      Org Diced Tomatoes                 LD18071818              Obsolete                                        Deibel         As Purchased       100            <10            100            <10        100         <10
       8/16/2018       Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour               B160007675              Accepted                                   Eurofins/Covance    As Purchased       100            86.2           100            18.1       100         18
       8/16/2018       Townsend Farms                         70030      Org Blueberry Puree                 T073118A               Accepted                                        Deibel         As Purchased       100             11            100            <10        100         <10
        8/7/2018       Export Packers                         16400      Org Pear Puree                       180926A               Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10
        8/7/2018       Export Packers                         16400      Org Pear Puree                       180938A               Accepted                                        Deibel         As Purchased       100            <10            100            <10        100         <10




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                                                                                                                                                                                                                           Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                           Spec Based                     Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name              Item Number       Product Description            Lot Code                  Status               Comments on Status                   Lab                             Limit                                       Result      Limit
                                                                                                                                                                                                               On                             (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                              (ppb)                                        (ppb)      (ppb)
        8/7/2018       Export Packers                       16400      Org Pear Puree                       181280A                Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
        8/7/2018       Export Packers                       16400      Org Pear Puree                       181089A                Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
        8/6/2018       LA Cross Milling Company             57400      Org Oat Flour             Lot 16 (2A072418-2B072418)        Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            14.8       100          5
        8/1/2018       LA Cross Milling Company             57400      Org Oat Flour              Lot 17 2B072418 2C072418         Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            13.8       100          5
       7/31/2018       Byrne Hollow Farm                   5301076     Org Whole Milk Yogurt                16SEP18                Accepted                                                  Deibel                            N/A            N/A            N/A            N/A        N/A         N/A
       7/31/2018       Grain Millers                        57400      Org Oat Flour                        180722A                Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            22.7       100          5
       7/31/2018       Grimmway Farms                       45100      Org Diced Potatoes 3/8"             82003,4 J               Accepted                                                  Deibel         As Purchased       100            <10            100             28        100         <10
       7/31/2018       Banana Light                          8500      Org Banana Puree            BPA 2B/B1 180716/1/13           Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       7/31/2018       Fruitrade International Inc.        5304164     Org Prune Puree                    C81980101                Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       7/31/2018       Victor Packing                       472030     Org Raisin Paste                   255071018                Accepted                                                  Deibel         As Purchased       100             38            100            <10        100         11
       7/26/2018       Bolt House                          5314134     Org Carrot Puree                  BJ218JUN09A               Accepted                                                  Deibel         As Purchased       100             16            100             11        100         <10
       7/26/2018       Bolt House                          5314134     Org Carrot Puree                  BJ218JUN08A               Accepted                                                  Deibel         As Purchased       100             15            100             14        100         <10
       7/25/2018       Tree Top                               69       Org Apple Puree SS         300385- 181781535200 #49         Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       7/25/2018       Tree Top                               69       Org Apple Puree SS         300385- 181791535200 #8          Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       7/25/2018       Tree Top                               69       Org Apple Puree SS         300385- 181351525200 #1          Accepted                                                  Deibel         As Purchased       100             12            100            <10        100         <10
       7/25/2018       Tree Top                               69       Org Apple Puree SS         300385- 173401516300 #1          Accepted                                                  Deibel         As Purchased       100             11            100            <10        100         <10
       7/25/2018       Firebird Artisan Mills               57600      Org Brown Rice Flour                F18-00465               Rejected                                             Eurofins/Covance    As Purchased       100            322            100            11.3       100          5
       7/24/2018       Arrowhead Mills                     5303040     Org Spelt Flour                      12JUL19                Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            21.3       100          5
       7/24/2018       Grimmway Farms                       45100      Org Diced Potatoes 3/8"               81872J                Accepted                                                  Deibel         As Purchased       100            <10            100             14        100         <10
       7/24/2018       Yamco, LLC                          5314150     Org Pumpkin Puree                 S1- 18190 OPT             Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       7/24/2018       Tree Top                               69       Org Apple Puree SS        300385- 173411516300 #157         Accepted                                                  Deibel         As Purchased       100             11            100            <10        100         <10
       7/23/2018       Grain Millers                        55300      Org Barley Flour                     180715A                Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            12.2       100          5
       7/19/2018       Grimmway Farms                       45100      Org Diced Potatoes 3/8"         81862,3,4,5,6,7,8J          Accepted                                                  Deibel         As Purchased       100            <10            100             20        100         <10
       7/19/2018       Grimmway Farms                       45100      Org Diced Potatoes 3/8"           81921, 2, 3, 5 J          Accepted                                                  Deibel         As Purchased       100            <10            100             25        100         <10
       7/19/2018       Firebird Artisan Mills               56700      Org Garbanzo Bean Flour             F18-00439               Accepted                                             Eurofins/Covance    As Purchased       100            25.4           100              5        100          5
       7/17/2018       Grain Millers                        57400      Org Oat Flour                        180709A                Accepted                                             Eurofins/Covance    As Purchased       100            <10            100            10.8       100          5
       7/17/2018       Grain Millers                        57400      Org Oat Flour                        180710A                Accepted                                             Eurofins/Covance    As Purchased       100            25.3           100            10.7       100          5
       7/17/2018       Grain Millers                       5303011     Org Oat Fiber                        180703A                Accepted                                             Eurofins/Covance    As Purchased       100            17.5           100            10.8       100          5
       7/13/2018       Grimmway Farms                       45100      Org Diced Potatoes 3/8"         81801,2,3,4,5,6,7J          Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
       7/11/2018       Grimmway Farms                       49200      Org Carrot Puree                 M11208B4B11C               Accepted                                                  Deibel         As Purchased       100            <10            100            <10        100         <10
                                                                                                                                                        Calculated Levels on consumed
       7/10/2018       Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                   16-7096                 Accepted                          basis                    Deibel        As consumed
                                                                                                                                                                                                                               100            200            100          <100        100          <100
        7/9/2018       LA Cross Milling Company                57400   Org Oat Flour              Lot 15 (2C062518, 2A062618)      Accepted                                             Eurofins/Covance    As consumed        100            <10            100           13         100          4.99
        7/9/2018       LA Cross Milling Company                57400   Org Oat Flour              Lot 14 (2B062518, 2C062518)      Accepted                                             Eurofins/Covance    As consumed        100            <10            100          10.8        100          8.88
        7/5/2018       Grimmway Farms                          45100   Org Diced Potatoes 3/8"             81761,2,3,4 J           Accepted                                                  Deibel         As consumed        100            <10            100           13         100          <10
        7/2/2018       SVZ                                   5314072   Org Butternut Squash Puree          1000285326              Accepted                                                  Deibel         As consumed        100            <10            100          <10         100           28
        7/2/2018       Townsend Farms                          70030   Org Blueberry Puree                T062618A USA             Accepted                                                  Deibel         As consumed        100            <10            100          <10         100          <10
        7/2/2018       Abre Farms                            5314239   Org Green Bean Puree                  266-17                Accepted                                                  Deibel         As consumed        100            <10            100          <10         100          <10
       6/29/2018       P&H Millling                           471152   Org Soft White Wheat Flour            816911                Accepted                                             Eurofins/Covance    As consumed        100            <10            100           17         100          <10
                                                                                                                                                        Calculated Levels on consumed
       6/25/2018       LA Cross Milling Company             57400      Org Oat Flour       LOT 13 2C061418,2B061418,2B060918,2AAccepted                              basis              Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            <10            100           102        100            5
       6/25/2018       Grain Millers                        57400      Org Oat Flour                      180602A-2                Accepted                                             Eurofins/Covance    As consumed        100            <10            100          12.4        100           5
       6/25/2018       Grain Millers                        57400      Org Oat Flour                       180613A                 Accepted                                             Eurofins/Covance    As consumed        100            <10            100          12.6        100           5
       6/25/2018       Grain Millers                        57400      Org Oat Flour                       180616A                 Accepted                                             Eurofins/Covance    As consumed        100            <10            100          13.7        100           5
       6/22/2018       Byrne Hollow Farm                   5301076     Org Whole Milk Yogurt               21AUG18                 Accepted                                                  Deibel                            N/A            N/A            N/A          N/A         N/A          N/A
       6/22/2018       Grain Millers                        57400      Org Oat Flour                       180611A                 Accepted                                             Eurofins/Covance    As consumed        100            <10            100          11.9        100           5
       6/22/2018       Grain Millers                        57400      Org Oat Flour                       180612A                 Accepted                                             Eurofins/Covance    As consumed        100            <10            100          11.9        100           5
       6/20/2018       Fruitrade International Inc.        5304164     Org Prune Puree                    C81500101                Accepted                                                  Deibel         As consumed        100            <10            100          <10         100          <10
       6/20/2018       Fruitrade International Inc.        5304164     Org Prune Puree                    C81430101                Accepted                                                  Deibel         As consumed        100            <10            100          <10         100          <10




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                                                                                                                             Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                       Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                        Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date             Vendor Name           Item Number        Product Description          Lot Code                  Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                            On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                          (ppb)                                        (ppb)      (ppb)
       6/18/2018       Townsend Farms                     12900      Org Raspberry Puree               T022318                  Accepted                                                  Deibel         As consumed       100            <10            100             22        100         11
       6/18/2018       ITI Tropicals                       8500      Org Banana Puree              2A18PASE103MC                Accepted                                                  Deibel         As consumed       100            <10            100            <10        100         <10
       6/18/2018       Townsend Farms                     12900      Org Raspberry Puree               T111417                  Accepted                                                  Deibel         As consumed       100            <10            100            <10        100         <10
       6/18/2018       Townsend Farms                     12900      Org Raspberry Puree               T011018                  Accepted                                                  Deibel         As consumed       100            <10            100            <10        100         <10
       6/15/2018       Firebird Artisan Mills             57200      Org Green Lentil Flour           F18-00378                 Accepted                                                  Deibel         As consumed       100            19             100            <10        100         <10
                                                                                                                                                     Calculated Levels on consumed
       6/13/2018       Grain Millers                     5308029     Org Brown Flax Milled                  180702F             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100             15            100           121        100           14
       6/13/2018       Townsend Farms                     70030      Org Blueberry Puree                T021218 Chile           Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
       6/13/2018       SVZ                               5314072     Org Butternut Squash Puree           1000283898            Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
       6/13/2018       Townsend Farms                     70030      Org Blueberry Puree             T053018 Argentina          Accepted                                                  Deibel         As consumed       100             17            100          <10         100          <10
       6/13/2018       Townsend Farms                     70030      Org Blueberry Puree                T021318 Chile           Accepted                                                  Deibel         As consumed       100             11            100          <10         100          <10
       6/12/2018       Grain Millers                      55300      Org Barley Flour                       180530A             Accepted                                             Eurofins/Covance    As consumed       100            <10            100          17.6        100            5
       6/12/2018       LA Cross Milling Company           57400      Org Oat Flour                  2B053118 2C053118           Accepted                                             Eurofins/Covance    As consumed       100            <10            100            5         100          14.3
       6/11/2018       Grain Millers                      57400      Org Oat Flour                          180602A             Accepted                                             Eurofins/Covance    As consumed       100            <10            100          12.4        100            5
        6/8/2018       LA Cross Milling Company           55300      Org Barley Flour                 A060118 C060118           Accepted                                             Eurofins/Covance    As consumed       100            <10            100            5         100          5.79
        6/7/2018       Townsend Farms                     70030      Org Blueberry Puree            T052918A Argentina          Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
        6/7/2018       Bolt House                        5314134     Org Carrot Puree                   BJ218MAY16A             Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
        6/7/2018       Yamco, LLC                        5314163     Org Sweet Potato Puree          SI-18144ORT Ham's          Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
        6/7/2018       Bolt House                        5314134     Org Carrot Puree                   BJ318MAY05A             Accepted                                                  Deibel         As consumed       100             14            100           15         100          <10
        6/7/2018       Axiom Foods                       5303131     Oryzolait                            RM10718-O             Rejected                                                  Deibel         As consumed       100            406            100           17         100          <10
        6/5/2018       Grimmway Farms                     49400      Org Diced Carrots 3/8"         8141 1,2,3,4,5,6,7,8 J      Accepted                                                  Deibel         As consumed       100             14            100          <10         100          <10
        6/1/2018       World Foods and Flavors              69       Org Apple Puree SS                PMZECO181017             Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
       5/31/2018       Yamco, LLC                        5314163     Sweet Potatoes for Puree Tommy Grantham S1-18120ORT        Accepted                                                  Deibel         As consumed       100            <10            100          <10         100           17
       5/30/2018       Eco Holding                       5304037     Org HA Apple Puree                    9L2 18116            Accepted                                                  Deibel         As consumed       100             13            100          <10         100          <10
       5/30/2018       Eco Holding                       5304037     Org HA Apple Puree                    6L2 18115            Accepted                                                  Deibel         As consumed       100             11            100          <10         100          <10
       5/25/2018       LA Cross Milling Company           57400      Org Oat Flour              LOT 10 2A051618, 2B051618       Accepted                                             Eurofins/Covance    As consumed       100            <10            100          9.72        100            5
       5/25/2018       LA Cross Milling Company           57400      Org Oat Flour              LOT 11 2B051618, 2C051618       Accepted                                             Eurofins/Covance    As consumed       100            <10            100          10.1        100            5
       5/25/2018       Grain Millers                      57400      Org Oat Flour                          180515A             Accepted                                             Eurofins/Covance    As consumed       100            <10            100          11.6        100          5.6
       5/25/2018       Bolt House                        5314134     Org Carrot Puree                   BJ218MAY04A             Accepted                                                  Deibel         As consumed       100            <10            100          <10         100           22
       5/25/2018       Bolt House                        5314134     Org Carrot Puree                   BJ118APR27A             Accepted                                                  Deibel         As consumed       100            <10            100           23         100          <10
       5/24/2018       LA Cross Milling Company           57400      Org Oat Flour                9 (2A051118, 2B051118)        Accepted                                             Eurofins/Covance    As consumed       100            <10            100          7.25        100            5
       5/24/2018       LA Cross Milling Company           57400      Org Oat Flour                8 (2C051018, 2A051118)        Accepted                                             Eurofins/Covance    As consumed       100            <10            100          9.24        100            5
       5/24/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160007674             Accepted                                             Eurofins/Covance    As consumed       100            84.7           100          17.1        100          11.1
       5/23/2018       Tradin Organic                    5314236     Org Parsnip Puree             BUS193488_23615554           Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
       5/17/2018       Byrne Hollow Farm                 5301076     Org Whole Milk Yogurt                  16JUL18             Accepted                                                  Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       5/17/2018       Stahlbush Island Farms            5304064     Org Pumpkin Puree           PG 13 B3 30LB 17 334 581       Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
       5/17/2018       LA Cross Milling Company           55300      Org Barley Flour                        050318             Accepted                                             Eurofins/Covance    As consumed       100            9.49           100            5         100            5
       5/15/2018       Grimmway Farms                     49400      Org Diced Carrots 3/8"              8122,4,5,6,7B          Accepted                                                  Deibel         As consumed       100            <10            100           37         100          <10
       5/15/2018       Grain Millers                      57400      Org Oat Flour                          180507A             Accepted                                             Eurofins/Covance    As consumed       100            9.7            100          13.5        100          4.99
       5/11/2018       Grimmway Farms                     49400      Org Diced Carrots 3/8"           8121,3,4,5,6,7,8B         Accepted                                                  Deibel         As consumed       100            <10            100          <10         100          <10
       5/11/2018       Grain Millers                     5308029     Org Brown Flax Milled                  180426F             Rejected                                                  Deibel         As consumed       100             16            100          217         100          <10
       5/10/2018       Cebroo Frozen Foods               5314166     IQF Org Chopped Broccoli        Lot 8114/ Field #75        Accepted                                                  Deibel         As consumed       100            <10            100           12         100          <10
        5/8/2018       Harvest Foods                      45600      Org IQF Spinach                   031277-180302            Accepted                                                  Deibel         As consumed       100             32            100          <10         100           11
        5/8/2018       Grain Millers                      57400      Org Oat Flour                          180428A             Accepted                                             Eurofins/Covance    As consumed       100            13.2           100          13.9        100            5
        5/8/2018       Grain Millers                      57400      Org Oat Flour                          180427A             Accepted                                             Eurofins/Covance    As consumed       100            9.37           100          13.1        100            5
        5/7/2018       Firebird Artisan Mills             56700      Org Garbanzo Bean Flour               F18.00295            Accepted                                             Eurofins/Covance    As consumed       100             14            100          <10         100          <10
        5/7/2018       Eco Holding                       5304052     Org LA Apple Puree                    1L2 18103            Accepted                                                  Deibel         As consumed       100             14            100          <10         100          <10
        5/4/2018       Grain Millers                      55300      Org Barley Flour                       180326A             Accepted                                             Eurofins/Covance    As consumed       100            <10            100          19.8        100            5
        5/4/2018       Grain Millers                      57400      Org Oat Flour                          180424A             Accepted                                             Eurofins/Covance    As consumed       100            23.2           100          17.5        100            5



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                                                                                                                             Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                             Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                              Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name             Item Number       Product Description            Lot Code                 Status               Comments on Status         Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                  On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                (ppb)                                        (ppb)      (ppb)
        5/3/2018       Grimmway Farms                    5314203     Org Red Beet Puree                 M12797A2B82C             Accepted                                       Deibel         As consumed       100             <10           100            <10        100          <10
        5/3/2018       Victor Packing                     472030     Org Raisin Paste                       255041918            Accepted                                       Deibel         As consumed       100             40            100            <10        100          17
        5/3/2018       Townsend Farms                     70030      Org Blueberry Puree                    T042618B             Accepted                                       Deibel         As consumed       100             18            100            <10        100          32
        5/3/2018       Townsend Farms                     70030      Org Blueberry Puree                    T042618A             Accepted                                       Deibel         As consumed       100             16            100            <10        100          <10
        5/3/2018       Olam SVI                           463134     Org Tomato Paste                      1200288981            Accepted                                       Deibel         As consumed       100             12            100             95        100          <10
        5/2/2018       P&H Millling                       471152     Org Soft Wheat White Flour               809311             Accepted                                  Eurofins/Covance    As consumed       100             43            100             12        100          <10
        5/1/2018       Olam SVI                           463134     Org Tomato Paste                      1200288873            Accepted                                       Deibel         As consumed       100             <10           100             85        100          <10
        5/1/2018       Olam SVI                           463134     Org Tomato Paste                      1200288322            Accepted                                       Deibel         As consumed       100             <10           100             92        100          <10
        5/1/2018       SVZ                               5304135     Org Apricot Puree                     1000270603            Accepted                                       Deibel         As consumed       100             <10           100            <10        100          <10
        5/1/2018       Townsend Farms                     70030      Org Blueberry Puree                     T042518             Accepted                                       Deibel         As consumed       100             <10           100            <10        100          <10
        5/1/2018       Philadelphia Macaroni Company      61900      Org Pasta Rings                     062-04-041918           Accepted                                  Eurofins/Covance    As consumed       100             18            100             52        100          <10
        5/1/2018       Philadelphia Macaroni Company      61900      Org Pasta Rings                     062-04-041818           Accepted                                  Eurofins/Covance    As consumed       100             16            100             51        100          <10
        5/1/2018       LA Cross Milling Company           57400      Org Oat Flour               LOT 6 (2C041818, 2A041918)      Accepted                                  Eurofins/Covance    As consumed       100            11.4           100            9.71       100           5
        5/1/2018       Townsend Farms                     70030      Org Blueberry Puree                     T041918             Accepted                                       Deibel         As consumed       100             11            100            <10        100          <10
        5/1/2018       LA Cross Milling Company           57400      Org Oat Flour               LOT 7 (2B041818, 2A041918)      Accepted                                  Eurofins/Covance    As consumed       100            9.64           100            7.3        100           5
        5/1/2018       Grain Millers                      55300      Org Barley Flour                        180422A             Accepted                                  Eurofins/Covance    As consumed       100            9.63           100            13.3       100           5
        5/1/2018       LA Cross Milling Company           57400      Org Oat Flour          Lot 5 (2C041418, 2A041518, 2B041818) Accepted                                  Eurofins/Covance    As consumed       100            9.51           100            9.51       100           5
        5/1/2018       Grain Millers                      57400      Org Oat Flour                           180423A             Accepted                                  Eurofins/Covance    As consumed       100            9.23           100            18.9       100           5
       4/26/2018       Grain Millers                      57400      Org Oat Flour                           180412A             Accepted                                  Eurofins/Covance    As consumed       100            9.22           100            13.5       100         4.99
       4/24/2018       Bolt House                        5314134     Org Carrot Puree                     BJ218APR11A            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/24/2018       Bolt House                        5314134     Org Carrot Puree                     BJ218APR09A            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/24/2018       Bolt House                        5314134     Org Carrot Puree                     BJ318APR10A            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/24/2018       Dickinson Frozen Foods             45100      Org Diced Potatoes 3/8"             L1018-20 Eagle          Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/23/2018       Giorgio Foods Inc.                 70150      Org Mushroom Diced IQF          Item 6284; Lot# 18103       Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/23/2018       Yamco, LLC                        5314163     Org Sweet Potato Puree
                                                                                       SI-18093 ORT Tommy Grantham; Grower: BurchAccepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/23/2018       LA Cross Milling Company           57400      Org Oat Flour                           4 041218            Accepted                                  Eurofins/Covance    As consumed       100            18.7           100            8.95       100         4.99
       4/20/2018       Fruitrade International Inc.      5304164     Org Prune Puree                       C80990101             Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/19/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                  B160007673            Accepted                                  Eurofins/Covance    As consumed       100            81.3           100            26.5       100         79.2
       4/18/2018       Byrne Hollow Farm                 5301076     Org Whole Milk Yogurt                   18JUN18             Accepted                                       Deibel                           N/A            N/A            N/A            N/A        N/A         N/A
       4/18/2018       Eco Holding                          69       Org Apple Puree SS                      2L118056            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                          69       Org Apple Puree SS                      4L118057            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304037     Org HA Apple Puree                    36L2 18096            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304037     Org HA Apple Puree                    35L2 18095            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                      1L218071            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                      3L218078            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                      5L218079            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                      6L218079            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                      9L218083            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                     10L218084            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                     12L218085            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                     13L218085            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                     17L218085            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                     18L218086            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Eco Holding                       5304052     Org LA Apple Puree                     21L218086            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       Philadelphia Macaroni Company      62000      Org Pasta Stars                       04/10/2018            Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       P&H Millling                       471152     Org Soft Wheat White Flour               809511             Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100
       4/18/2018       LA Cross Milling Company           57400      Org Oat Flour                           3 040918            Accepted                                  Eurofins/Covance    As consumed       100            9.48           100            12.2       100         4.99
       4/16/2018       Arrowhead Mills                   5303040     Org Spelt Flour                       05APR19A1             Accepted                                       Deibel         As consumed       100            <100           100           <100        100         <100




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                                                                                                                                                                                                                           Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                            Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name               Item Number       Product Description            Lot Code                   Status               Comments on Status                  Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                                On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                              (ppb)                                        (ppb)      (ppb)
       4/16/2018       Grain Millers                         57400      Org Oat Flour                       180407A                  Accepted                                            Eurofins/Covance    As consumed       100            9.96           100            13.6       100         4.99
       4/16/2018       Grain Millers                         57400      Org Oat Flour                       180405A                  Accepted                                            Eurofins/Covance    As consumed       100            9.87           100            16.8       100         4.99
       4/13/2018       Grain Millers                         57400      Org Oat Flour                       180403A                  Accepted                                            Eurofins/Covance    As consumed       100            9.52           100            14.9       100         4.99
       4/12/2018       Avena Foods                           57400      Org Oat Flour                        18085                   Accepted                                            Eurofins/Covance    As consumed       100            9.79           100            9.87       100         4.99
       4/10/2018       SVZ                                  5314072     Org Butternut Squash Puree       1000283691                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
        4/4/2018       Fruitrade International Inc.         5304164     Org Prune Puree                   C80790101                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/30/2018       Harvest Foods                         38900      Org Diced Onions                    173B337                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/30/2018       Firebird Artisan Mills               5303042     Org Quinoa Flour                  F18-00208                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/30/2018       Healthy Food Ingredients             5314070     Org Red Lentils                    17CB2280                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/27/2018       Firebird Artisan Mills               5303042     Org Quinoa Flour                  F18-00133                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/27/2018       Brothers International Food Corp     5304196     Org Yellow Papaya Puree XL YPP B08I Grower: Excel Foods      Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/26/2018       Tradin Organic                       5314237     Org Pea Puree              2574012, 2576003, 2576646         Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/26/2018       Tradin Organic                       5314237     Org Pea Puree                       2571889                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/26/2018       SVZ                                   16300      Org Peach Puree                  1000277885                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/26/2018       Grain Millers                         57400      Org Oat Flour                       180312A                  Accepted                                            Eurofins/Covance    As consumed       100            9.75           100            5.49       100         11.6
       3/22/2018       Grain Millers                         471103     Org 70 Oat Flour                    180315A                  Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304052     Org LA Apple Puree                 1L1 18068                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304052     Org LA Apple Puree                 4L1 18068                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304052     Org LA Apple Puree                 5L1 18068                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304054     Org Peach Puree                    2L1 18042                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304054     Org Peach Puree                    6L1 18047                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304054     Org Peach Puree                    7L1 18047                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304054     Org Peach Puree                   10L1 18048                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                          5304054     Org Peach Puree                   11L1 18048                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
       3/22/2018       Eco Holding                           16400      Org Pear Puree                    20L1 18060                 Accepted                                                 Deibel         As consumed       100            <100           100           <100        100         <100
                                                                                                                                                          Rejection based on non-Heavy
       3/22/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007579                 Rejected                   Metal related spec       Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            68.2           100          11.4        100          43.4
                                                                                                                                                          Rejection based on non-Heavy
       3/20/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007672                 Rejected                   Metal related spec       Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            87.5           100           51         100          83.4
                                                                                                                                                          Rejection based on non-Heavy
       3/20/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007671                 Rejected                   Metal related spec       Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            83.4           100          50.5        100          89.5
                                                                                                                                                          Rejection based on non-Heavy
       3/20/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007640                 Rejected                   Metal related spec       Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            75.2           100          53.9        100          91.1
       3/19/2018       Grain Millers                         55300      Org Barley Flour                   180310A                   Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Pacific Grains & Foods               5304119     Org Black Currant Puree           012318M                    Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Townsend Farms                        70030      Org Blueberry Puree           T031218A Argentina             Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Townsend Farms                        70030      Org Blueberry Puree             T031218A Chile               Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Townsend Farms                        70030      Org Blueberry Puree           T031318A Argentina             Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Firebird Artisan Mills                56700      Org Garbanzo Bean Flour           F18-00148                  Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Firebird Artisan Mills                57200      Org Green Lentil Flour            F18-00167                  Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Grain Millers                         57400      Org Oat Flour                      180306A                   Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Grain Millers                         57400      Org Oat Flour                      180311A                   Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       P&H Millling                          471152     Org Soft White Wheat Flour          805011                   Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/19/2018       Grain Millers                         471138     Org Whole Wheat Fine Flour         180307A                   Accepted                                                 Deibel         As consumed       100            <100           100          <100        100          <100
       3/16/2018       Ciranda                              5309006     Org Coconut Oil                    R17-334                   Accepted                                                 Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       3/16/2018       Springfield Creamery                  89700      Org Whole Milk Yogurt              5-4-2018                  Accepted                                                 Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
                                                                                                                                                          Rejection based on non-Heavy
       3/15/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007639                 Rejected                   Metal related spec       Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            83.8           100          14.5        100          63.5
                                                                                                                                                          Rejection based on non-Heavy
       3/15/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007638                 Rejected                   Metal related spec       Eurofins/Covance    As consumed
                                                                                                                                                                                                                               100            83.4           100          14.8        100          65.8
        3/9/2018       Firebird Artisan Mills                57600      Org Brown Rice Flour               F18-00123                 Accepted                                            Eurofins/Covance    As consumed       100            <100           100          <100        100          <100




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                                                                                                                           Raw Material Pre-Shipment Test Data History



                                                                                                                                                                                                                     Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                      Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date             Vendor Name           Item Number        Product Description           Lot Code               Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                          On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                        (ppb)                                        (ppb)      (ppb)
        3/9/2018       LA Cross Milling Company           57400      Org Oat Flour                     UW00653                Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          160
        3/9/2018       LA Cross Milling Company           57400      Org Oat Flour                     UW00654                Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          190
        3/6/2018       Del Mar Food Products Corp.        13600      Org Strawberry Puree             7811-170908             Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
        3/6/2018       Yamco, LLC                        5314163     Org Sweet Potato Puree            18045ORT               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
        3/5/2018       Townsend Farms                     70030      Org Blueberry Puree                T021918               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
        3/5/2018       Grimmway Farms                     49400      Org Diced Carrots 3/8"        8012,1,2,3,4,5,6,7,8J      Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
        3/2/2018       Grain Millers                      57400      Org Oat Flour                      180222A               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
        3/2/2018       Grain Millers                      57400      Org Oat Flour                      180224A               Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          190
       2/28/2018       Grain Millers                     5308029     Org Brown Flax Milled              171222F               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Grimmway Farms                     49200      Org Carrot Puree                M10388C4B11C             Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Grimmway Farms                     49400      Org Diced Carrots 3/8"           80455,6,7,8J            Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Avena Foods                        57400      Org Oat Flour                        18017               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Grimmway Farms                    5314236     Org Parsnip Puree               M10088A1B12C             Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Townsend Farms                     12900      Org Raspberry Puree                T011118               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Townsend Farms                     12900      Org Raspberry Puree                T011518               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Townsend Farms                     12900      Org Raspberry Puree                T011218               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/28/2018       Yamco, LLC                        5314163     Org Sweet Potato Puree            18048ORT               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/26/2018       Townsend Farms                     70030      Org Blueberry Puree                T022018               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/26/2018       Grain Millers                      57400      Org Oat Flour                      180218A               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/23/2018       SVZ                               5304135     Org Apricot Puree                1000268121              Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/23/2018       Grain Millers                      55300      Org Barley Flour                   180213A               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/20/2018       Yamco, LLC                        5314072     Org Butternut Squash Puree        180150BT               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/20/2018       Yamco, LLC                        5314072     Org Butternut Squash Puree        180090BT               Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/20/2018       Tradin Organic                     70340      Org Orange Juice Conc             6JA17119A              Accepted                                                  Deibel         As consumed       100            <100           100           <100        100         <100
       2/20/2018       Grain Millers                      57400      Org Oat Flour                      180211A               Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          180
       2/20/2018       Grain Millers                      57400      Org Oat Flour                      180212A               Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          190
       2/12/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160007342              Accepted                                             Eurofins/Covance    As consumed       100            93.9           100            21.2       100         51.7
       2/12/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160007417              Accepted                                             Eurofins/Covance    As consumed       100            92.1           100            20.7       100         45.5
       2/12/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160007343              Accepted                                             Eurofins/Covance    As consumed       100            87.3           100            21.2       100          66
       2/12/2018       Grain Millers                      57400      Org Oat Flour                      180202A               Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          160
       2/12/2018       Grain Millers                      57400      Org Oat Flour                      180204A               Rejected                                                  Deibel         As consumed       100            <100           100           <100        100          180
       2/12/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160007341              Rejected                                             Eurofins/Covance    As consumed       100            90.7           100            20.7       100          636
                                                                                                                                                   Calculated Levels on consumed
        2/8/2018       California Dried Fruit Inc.       5304145     Org Raisin Butter Dried       C17-355-12012017-1         Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                         100            <100           100          <100        100          130
                                                                                                                                                   Calculated Levels on consumed
        2/8/2018       Victor Packing                     472030     Org Raisin Paste                  255121917              Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                         100            <100           100          <100        100          150
        2/7/2018       Yamco, LLC                        5314163     Org Sweet Potato Puree           S1-180220RT             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
        2/6/2018       Townsend Farms                     70030      Org Blueberry Puree                T013118               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
        2/5/2018       Townsend Farms                     70030      Org Blueberry Puree                T012618               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
        2/5/2018       Townsend Farms                     70030      Org Blueberry Puree                T012918               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
        2/5/2018       Townsend Farms                     70030      Org Blueberry Puree                T013018               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
        2/5/2018       Philadelphia Macaroni             5303125     Org Elmo Pasta 7% Egg White       01/28/2018             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
        2/2/2018       Banana Light                        8500      Org Banana Puree                 180124/1/13             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/31/2018       Townsend Farms                     70030      Org Blueberry Puree                T012518               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/31/2018       Townsend Farms                     12900      Org Raspberry Puree                T011518               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                   Rejection based on non-Heavy
       1/31/2018       Townsend Farms                     70030      Org Blueberry Puree                 T012518              Rejected                   Metal related spec             Deibel         As consumed
                                                                                                                                                                                                                         100            <100           100          <100        100          <100
       1/30/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160007235              Accepted                                             Eurofins/Covance    As consumed       100            66.3           100           28         100          23.1
       1/29/2018       Banana Light                      5304146     Org Kent Mango Puree             180112/1/21             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/29/2018       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160007166              Accepted                                             Eurofins/Covance    As consumed       100             74            100           30         100          25.1



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                                                                                                                                                                                                                       Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                        Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name               Item Number        Product Description            Lot Code             Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                            On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                          (ppb)                                        (ppb)      (ppb)
                                                                                                                                                     Rejection based on non-Heavy
       1/29/2018       Springfield Creamery                 5301076     Org Whole Milk Yogurt              3-13-2018            Rejected                   Metal related spec             Deibel                           N/A            N/A            N/A           N/A        N/A          N/A
       1/29/2018       Grain Millers                         57400      Org Oat Flour                       180122A             Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          120
       1/29/2018       Grain Millers                         57400      Org Oat Flour                       180123A             Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          140
                                                                                                                                                     Calculated Levels on consumed
       1/24/2018       SVZ                                  5314150     Org Pumpkin Puree                 1000266258            Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          150
                                                                                                                                                     Calculated Levels on consumed
       1/24/2018       Grain Millers                        5303011     Org Oat Fiber                       180118A             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          170
                                                                                                                                                     Calculated Levels on consumed
       1/24/2018       Townsend Farms                        70030      Org Blueberry Puree                 T011618             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          190
       1/24/2018       Grimmway Farms                        49400      Org Diced Carrots 3/8"            73635,6,7,8J          Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/24/2018       Grimmway Farms                        49400      Org Diced Carrots 3/8"           73641,2,3,5,6,7J       Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                     Calculated Levels on consumed
       1/23/2018       Jewel Date                            14300      Org Date Paste                      JE2857C1            Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           220        100          170
       1/23/2018       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160007178            Rejected                                             Eurofins/Covance    As consumed       100            63.6           100          31.2        100          194
                                                                                                                                                     Calculated Levels on consumed
       1/22/2018       Harvest Foods                        5314166     IQF Org Chopped Broccoli      080717702616-O-30291      Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           250        100          110
                                                                                                                                                     Calculated Levels on consumed
       1/22/2018       Jewel Date                            14300      Org Date Paste                      JE2837C1            Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           190        100          220
       1/22/2018       Townsend Farms                        70030      Org Blueberry Puree                 T011518             Rejected                                                  Deibel         As consumed       100            <100           100           260        100          190
                                                                                                                                                     Calculated Levels on consumed
       1/19/2018       Grain Millers                         55300      Org Barley Flour                    180114A             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           260        100          170
                                                                                                                                                     Calculated Levels on consumed
       1/19/2018       Grain Millers                        471138      Org Whole Wheat Fine Flour          180109A             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           160        100          250
                                                                                                                                                     Calculated Levels on consumed
       1/19/2018       Townsend Farms                        12900      Org Raspberry Puree                 T110217             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          110
                                                                                                                                                     Calculated Levels on consumed
       1/19/2018       Townsend Farms                        12900      Org Raspberry Puree                 T112717             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          140
                                                                                                                                                     Calculated Levels on consumed
       1/19/2018       Townsend Farms                        12900      Org Raspberry Puree                 T103017             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          150
       1/19/2018       Townsend Farms                        12900      Org Raspberry Puree                 T100617             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/19/2018       Banana Light                           8500      Org Banana Puree                  180109/1/13           Rejected                                                  Deibel         As consumed       100            <100           100           200        100          <100
                                                                                                                                                     Calculated Levels on consumed
       1/18/2018       Brothers International Food Corp     5304196     Org Yellow Papaya Puree           XL0YPP K14G           Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           170        100          <100
       1/18/2018       Grain Millers                         57400      Org Oat Flour                       180109A             Rejected                                                  Deibel         As consumed       100            <100           100           180        100          160
       1/18/2018       Grain Millers                         57400      Org Oat Flour                       180110A             Rejected                                                  Deibel         As consumed       100            <100           100           380        100          200
                                                                                                                                                     Calculated Levels on consumed
       1/17/2018       P&H Millling                         471152      Org Soft White Wheat Flour           800811             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          120
       1/17/2018       Townsend Farms                       70030       Org Blueberry Puree                 T121417             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/17/2018       P&H Millling                         471152      Org Soft White Wheat Flour           800311             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                     Calculated Levels on consumed
       1/15/2018       Grain Millers                         58000      Org Oat Flakes                      180108A             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           130        100          180
                                                                                                                                                     Calculated Levels on consumed
       1/12/2018       Grain Millers                         55300      Org Barley Flour                    180107A             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100           110        100          <100
       1/12/2018       Grain Millers                         57400      Org Oat Flour                       180105A             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/11/2018       Grain Millers                         57800      Org Lo Protein Wheat Flour          180105A             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       1/10/2018       Bolt House                           5314134     Org Carrot Puree                  BJ217DEC16A           Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                     Calculated Levels on consumed
        1/8/2018       Suzanne's Specialities                F0026      Organic Barley Malt Extract          00218E             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            180            100          <100        100          <100
        1/8/2018       Farm Pak                              47400      Org Fresh Sweet Potatoes             Brian Hill         Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          120
        1/8/2018       Farm Pak                              47400      Org Fresh Sweet Potatoes          Lester Bender         Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          200
        1/8/2018       Farm Pak                              47400      Org Fresh Sweet Potatoes            Sam Brake           Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          220
        1/8/2018       Farm Pak                              47400      Org Fresh Sweet Potatoes            Paul Elliot         Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          220
        1/8/2018       Farm Pak                              47400      Org Fresh Sweet Potatoes           Horne Farm           Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          250
        1/2/2018       Grain Millers                         57400      Org Oat Flour                        171222A            Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          190
                                                                                                                                                     Calculated Levels on consumed
       12/28/2017      Grain Millers                        471011      Org Quick Oats                      171219A             Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                           100            <100           100          <100        100          230




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                                                                                                                                                                                                                          Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                           Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name               Item Number        Product Description            Lot Code                Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                               On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                             (ppb)                                        (ppb)      (ppb)
                                                                                                                                                        Rejection based on non-Heavy
       12/28/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160006942               Rejected                   Metal related spec        Eurofins/Covance    As consumed
                                                                                                                                                                                                                              100             71            100          27.7        100          31.4
                                                                                                                                                        Calculated Levels on consumed
       12/27/2017      Grain Millers                         55300      Org Barley Flour                    171215A                Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            120            100          <100        100          230
       12/27/2017      Springfield Creamery                 5301076     Org Whole Milk Yogurt                02/06/18              Accepted                                                  Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       12/22/2017      Firebird Artisan Mills                57600      Org Brown Rice Flour                F17-01055              Accepted                                             Eurofins/Covance    As consumed       100            <100           100          <100        100          <100
       12/22/2017      Grimmway Farms                        49400      Org Diced Carrots 3/8"           73341,2,3,4,5 J           Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/20/2017      Grain Millers                         57400      Org Oat Flour                        171213A               Rejected                                                  Deibel         As consumed       100            <100           100          <100        100           150
       12/19/2017      Tradin Organic                       5304141     Org Asepic Blueberry Puree         3100034-03              Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/19/2017      George Chiala Farms                   70194      Red Bell Pepper                     7257CC01               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/18/2017      Yamco, LLC                           5314163     Sweet Potatoes for Puree          SI-17333 ORT             Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                        Calculated Levels on consumed
       12/14/2017      Arrowhead Mills                      5303040     Org Spelt Flour                     06DEC18                Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            190            100          <100        100          140
                                                                                                                                                        Calculated Levels on consumed
       12/14/2017      Fresno Cooperative Raisin Growers, Inc. 23300    Org Whole Raisins                   16-7079                Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            <100           100          <100        100          140
                                                                                                                                                        Calculated Levels on consumed
       12/14/2017      Montana Flour & Grains               5303053     Org Kamut Flour                  KMFCA57314F               Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            <100           100          <100        100          170
       12/14/2017      Grain Millers                         55300      Org Barley Flour                    171207A                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/14/2017      Arrowhead Mills                      5303040     Org Spelt Flour                     05DEC18                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                        Calculated Levels on consumed
       12/13/2017      Townsend Farms                        70030      Org Blueberry Puree                 T112717                Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            120            100          <100        100          <100
       12/13/2017      Townsend Farms                        70030      Org Blueberry Puree                 T112817                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/13/2017      Townsend Farms                        70030      Org Blueberry Puree                 T112917                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/13/2017      Grain Millers                         57400      Org Oat Flour                      171201A                 Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/13/2017      Grain Millers                         57400      Org Oat Flour                      171203A                 Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/12/2017      Grain Millers                         55300      Org Barley Flour                   171203A                 Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/12/2017      California Dried Fruit Inc.          5304145     Org Raisin Butter Dried       C17-335-120120171            Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/8/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006775                Accepted                                             Eurofins/Covance    As consumed       100            98.5           100          10.8        100          7.75
       12/8/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006779                Accepted                                             Eurofins/Covance    As consumed       100            97.3           100          10.6        100          5.78
       12/8/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006778                Accepted                                             Eurofins/Covance    As consumed       100            96.3           100           11         100          6.45
       12/6/2017       Camerican International Inc.          47900      IQF Org Zucchini           Grower: Virto Lot 11-20-17      Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/6/2017       Stahlbush Island Farms               5304064     Org Pumpkin Puree                  17282437                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/6/2017       Stahlbush Island Farms               5304064     Org Pumpkin Puree                  17284649                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/6/2017       Stahlbush Island Farms               5304064     Org Pumpkin Puree                  17293675                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/6/2017       P&H Millling                          471152     Org Soft White Wheat Flour           732511                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/6/2017       P&H Millling                          471152     Org Soft White Wheat Flour           732811                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                        Calculated Levels on consumed
       12/5/2017       SK Food International                5314065     Org Yellow Split Pea Powder        17BC2273                Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            160            100          <100        100          <100
                                                                                                                                                        Calculated Levels on consumed
       12/5/2017       SVZ                                  5314072     Org Butternut Squash Puree        1000247136               Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            130            100          <100        100          <100
       12/5/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160006776               Accepted                                             Eurofins/Covance    As consumed       100            <100           100           11         100          9.25
       12/5/2017       Arrowhead Mills                      5303040     Org Spelt Flour                   21NOV18A1                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       12/5/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160006756               Accepted                                             Eurofins/Covance    As consumed       100            99.1           100          10.2        100          12.9
       12/5/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160006777               Accepted                                             Eurofins/Covance    As consumed       100            94.6           100          10.3        100          17.5
       12/5/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160006755               Accepted                                             Eurofins/Covance    As consumed       100            85.4           100          7.39        100          17.9
       12/5/2017       Farm Pak                              47400      Org Fresh Sweet Potatoes            Iris Bonn              Rejected                                                  Deibel         As consumed       100             230           100          <100        100          <100
       12/5/2017       Farm Pak                              47400      Org Fresh Sweet Potatoes           Roy Ferrell             Rejected                                                  Deibel         As consumed       100             190           100          <100        100          <100
       12/5/2017       Farm Pak                              47400      Org Fresh Sweet Potatoes           Jack Groc               Rejected                                                  Deibel         As consumed       100             150           100          <100        100          <100
       12/5/2017       Grain Millers                         57400      Org Oat Flour                       171124A                Rejected                                                  Deibel         As consumed       100             140           100          <100        100          <100
                                                                                                                                                        Rejection based on non-Heavy
       12/5/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour              B160006754               Rejected                   Metal related spec        Eurofins/Covance    As consumed
                                                                                                                                                                                                                              100             80            100          7.99        100          14.7
       12/1/2017       Springfield Creamery                  89700      Org Whole Milk Yogurt             01/16/2018               Accepted                                                  Deibel                           N/A            N/A            N/A           N/A        N/A          N/A




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                                                                                                                                                                                                                          Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                           Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name               Item Number       Product Description           Lot Code                  Status               Comments on Status                   Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                               On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                             (ppb)                                        (ppb)      (ppb)
                                                                                                                                                        Calculated Levels on consumed
       11/29/2017      Townsend Farms                        70030      Org Blueberry Puree               T102017                  Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            110            100          <100        100          <100
       11/29/2017      Cedar Grove Cheese                    93500      Org Cheddar Cheese               F 11-01-17                Accepted                                                  Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       11/28/2017      Cedar Grove Cheese                    93500      Org Cheddar Cheese            C 11-02-17 OKW               Accepted                                                  Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       11/28/2017      Cedar Grove Cheese                    93500      Org Cheddar Cheese               C 08-15-17                Accepted                                                  Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       11/28/2017      Cedar Grove Cheese                    93500      Org Cheddar Cheese               E 11-02-17                Accepted                                                  Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       11/28/2017      Tradin Organic                       5304052     Org LA Apple Puree                7182740                  Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/28/2017      CI Potosi SAS                         70142      Org Mango Puree                  14017102                  Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/28/2017      CI Potosi SAS                         70142      Org Mango Puree                  14217102                  Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/28/2017      Sure Fresh Produce                   5314146     Org IQF Celery                   SF-596721                 Obsolete                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/27/2017      Grain Millers                         57400      Org Oat Flour                     171114A                  Rejected                                                  Deibel         As consumed       100            <100           100          <100        100           150
                                                                                                                                                        Rejection based on non-Heavy
       11/21/2017      Grimmway Farms                       5314203     Org Red Beet Puree             M13067B1B82C                Rejected                   Metal related spec             Deibel         As consumed
                                                                                                                                                                                                                              100            <100           100          <100        100          <100
       11/20/2017      Burch Farms                           47400      Org Fresh Sweet Potatoes         Dave Bright               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/20/2017      Burch Farms                           47400      Org Fresh Sweet Potatoes        Allen Bridge               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/20/2017      Burch Farms                           47400      Org Fresh Sweet Potatoes        Taylor Pond                Accepted                                                  Deibel         As consumed       100             100           100          <100        100          <100
       11/20/2017      Burch Farms                           47400      Org Fresh Sweet Potatoes         Pine Ridge                Rejected                                                  Deibel         As consumed       100            <100           100          <100        100           180
       11/20/2017      Burch Farms                           47400      Org Fresh Sweet Potatoes          Butterfly                Rejected                                                  Deibel         As consumed       100            <100           100          <100        100           250
       11/20/2017      Burch Farms                           47400      Org Fresh Sweet Potatoes     Tommy Grantham                Rejected                                                  Deibel         As consumed       100             120           100          <100        100          <100
       11/17/2017      Grain Millers                         57400      Org Oat Flour                     171112A                  Rejected                                                  Deibel         As consumed       100            <100           100          <100        100           120
       11/14/2017      Townsend Farms                        70030      Org Blueberry Puree                T110617                 Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/13/2017      Bolt House                           5314134     Org Carrot Puree                BJ217OCT25A                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/13/2017      Grimmway Farms                        49400      Org Diced Carrots 3/8"          72095, 6, 7 J              Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/13/2017      Grimmway Farms                        49400      Org Diced Carrots 3/8"         72135, 6, 7, 8 J            Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/13/2017      Grimmway Farms                        49400      Org Diced Carrots 3/8"            71881, 3 J               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/13/2017      Townsend Farms                        12900      Org Raspberry Puree                T100617                 Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/13/2017      Grain Millers                         57400      Org Oat Flour                     171106A                  Rejected                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/10/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour            B160006265                 Accepted                                             Eurofins/Covance    As consumed       100            76.8           100          14.5        100          27.1
       11/10/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour            B160006260                 Accepted                                             Eurofins/Covance    As consumed       100            76.3           100          12.5        100          12.7
       11/10/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour            B160006263                 Accepted                                             Eurofins/Covance    As consumed       100            74.2           100          12.1        100          33.9
       11/10/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour            B160006261                 Accepted                                             Eurofins/Covance    As consumed       100            73.3           100          12.9        100          58.9
       11/10/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour            B160006264                 Accepted                                             Eurofins/Covance    As consumed       100            70.3           100          12.2        100          24.2
       11/10/2017      Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour            B160006262                 Accepted                                             Eurofins/Covance    As consumed       100            66.1           100           13         100          13.8
       11/9/2017       Grain Millers                         57400      Org Oat Flour                     171102A                  Rejected                                                  Deibel         As consumed       100            <100           100          <100        100           120
                                                                                                                                                        Calculated Levels on consumed
       11/8/2017       Fresno Cooperative Raisin Growers, Inc. 23300    Org Whole Raisins                 16-7030                  Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            <100           100          <100        100          140
       11/8/2017       Grain Millers                           57400    Org Oat Flour                     171101A                  Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                        Rejection based on non-Heavy
       11/8/2017       Yamco, LLC                           5314163     Sweet Poatatoes for PureeTommy Grantham Grower: Burch      Rejected                   Metal related spec             Deibel         As consumed
                                                                                                                                                                                                                              100            <100           100          <100        100          <100
       11/7/2017       Grimmway Farms                       5314203     Org Red Beet Puree             M12497B3B82C                Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/6/2017       Yamco, LLC                           5314163     Org Sweet Potato Puree           S1-17114ORT               Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006256                Rejected                                             Eurofins/Covance    As consumed       100             126           100          32.2        100          58.1
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006255                Rejected                                             Eurofins/Covance    As consumed       100             124           100          31.6        100           183
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006259                Rejected                                             Eurofins/Covance    As consumed       100             123           100          31.3        100          67.9
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006258                Rejected                                             Eurofins/Covance    As consumed       100             122           100          32.9        100          60.2
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006257                Rejected                                             Eurofins/Covance    As consumed       100             120           100          31.6        100          56.7
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006254                Rejected                                             Eurofins/Covance    As consumed       100             119           100          33.7        100          55.4
       11/6/2017       Daawat Foods/Nature Bio-Foods        5303133     Org Brown Rice Flour             B160006253                Rejected                                             Eurofins/Covance    As consumed       100             117           100          32.5        100          50.6
                                                                                                                                                        Calculated Levels on consumed
       11/3/2017       Starwest Botanicals                   40500      Org Cinnamon Powder              88890-53                  Accepted                          basis                   Deibel         As consumed
                                                                                                                                                                                                                              100            110            100           200        100          230
       11/3/2017       Grain Millers                         471138     Org Whole Wheat Fine Flour        171027A                  Accepted                                                  Deibel         As consumed       100            <100           100          <100        100          <100



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                                                                                                                                                                                                                            Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                             Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name                 Item Number       Product Description            Lot Code               Status               Comments on Status                      Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                                 On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                               (ppb)                                        (ppb)      (ppb)
       11/2/2017       Yamco, LLC                            5314163     Sweet Potatoes for Puree         Lot 1 Field 1           Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
       11/1/2017       Grain Millers                          57400      Org Oat Flour                     171026A                Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
       11/1/2017       Townsend Farms                         12900      Org Raspberry Puree                T100917               Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006190              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            130            100          18.6        100          12.9
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006192              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            130            100          17.7        100          15.4
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006193              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            129            100          17.5        100          13.6
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006195              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            129            100           17         100          19.1
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006191              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            129            100          18.2        100          20.6
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006189              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            127            100          17.8        100          13.3
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006194              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            126            100          16.6        100          98.6
                                                                                                                                                      The inorganic arsenic levels were
       10/31/2017      Daawat Foods/Nature Bio-Foods         5303133     Org Brown Rice Flour             B160006196              Accepted                     below 100 ppb              Eurofins/Covance    As consumed
                                                                                                                                                                                                                                100            119            100          15.1        100          17.5
                                                                                                                                                       Calculated Levels on consumed
       10/27/2017      Fresno Cooperative Raisin Growers, Inc. 23300     Org Whole Raisins                  166134                Obsolete                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                100            <100           100          <100        100          130
       10/27/2017      Yamco, LLC                            5314163     Sweet Potatoes for Puree   Hickory Meadows Org 6506      Rejected                                                     Deibel         As consumed       100            <100           100          <100        100          170
                                                                                                                                                       Calculated Levels on consumed
       10/23/2017      World Foods and Flavors               5304063     Org Apricot Puree              PCALECO290917             Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                100            <100           100          <100        100          110
       10/23/2017      Grimmway Farms                         49400      Org Diced Carrots 3/8"            72071, 2, 4, 5, 6, 7J  Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/23/2017      Grimmway Farms                         49400      Org Diced Carrots 3/8"                71872, 3, 4J       Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/20/2017      Springfield Creamery                  5301076     Org Whole Milk Yogurt                  12-1-2017         Accepted                                                     Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       10/20/2017      Firebird Artisan Mills                 57600      Org Brown Rice Flour                   F17-00922         Accepted                                                Eurofins/Covance    As consumed       100            <100           100          <100        100          <100
       10/19/2017      Townsend Farms                         70030      Org Blueberry Puree                    T100917B          Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/19/2017      Townsend Farms                         70030      Org Blueberry Puree                    T101017A          Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/18/2017      Springfield Creamery                  5301076     Org Whole Milk Yogurt                Nov 28 2017         Accepted                                                     Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       10/18/2017      Pacific Organics                         66       Org Fresh Apples                   D071 Honeycrisp       Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/18/2017      Pacific Organics                         66       Org Fresh Apples                    P046 Jonegold        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      National Frozen Foods Corporation      49800      IQF Org Green Peas                   4036-76-2-17        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      National Frozen Foods Corporation      49800      IQF Org Green Peas                   4240-83-4-17        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      National Frozen Foods Corporation      49800      IQF Org Green Peas                   4267-90-4-17        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      National Frozen Foods Corporation      49800      IQF Org Green Peas                   4267-92-4-17        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      National Frozen Foods Corporation      49800      IQF Org Green Peas                   4270-71-4-17        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      National Frozen Foods Corporation      49900      Org Cut Corn                        4276-144-2-17        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      Jewel Date                             14300      Org Date Paste                         JE2417C1          Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/17/2017      Olam SVI                               70232      Org Diced Tomatoes LD17071720, LD17071722, LD17071802 Obsolete                                                        Deibel         As consumed       100            <100           100          <100        100          <100
       10/13/2017      Grain Millers                          57400      Org Oat Flour                           171005A          Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/12/2017      Grain Millers                          57400      Org Oat Flour                           171004A          Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/11/2017      Grain Millers                          57400      Org Oat Flour                           171003A          Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/9/2017       Tradin Organic                         70195      Org Pineapple Juice Conc       Qn1711-PSC-0516CA55       Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/6/2017       Springfield Creamery                  5301076     Org Whole Milk Yogurt                Nov 15, 2017        Accepted                                                     Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       10/6/2017       Pacific Grains & Foods                5303151     Org Short Grain White Rice       160413-2431-534SW       Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/6/2017       Grain Millers                          57400      Org Oat Flour                           170930A          Rejected                                                     Deibel         As consumed       100            <100           100          <100        100           120
       10/5/2017       Pacific Organics                         66       Org Fresh Apples            Lot# P046, Grower: Red Apple Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/5/2017       Pacific Organics                         66       Org Fresh Apples                   P084 Caster Don       Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/5/2017       Pacific Organics                         66       Org Fresh Apples                     P011 Brooks         Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/5/2017       Pacific Organics                         66       Org Fresh Apples                    P046 Jonegold        Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/5/2017       Suzanne's Specialities                 F0026      Organic Barley Malt Extract             27017D           Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100




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                                                                                                                                                                                                                              Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                               Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date             Vendor Name           Item Number       Product Description               Lot Code                  Status               Comments on Status                      Lab                            Limit                                       Result      Limit
                                                                                                                                                                                                                   On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                                 (ppb)                                        (ppb)      (ppb)
       10/5/2017       Grain Millers                      57400      Org Oat Flour                         170927A                  Rejected                                                     Deibel         As consumed       100            <100           100           <100        100          130
       10/4/2017       Sheridan Elements                 5304062     Org Cranberry Puree                    090217                  Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
       10/4/2017       Pacific Organics                     66       Org Fresh Apples                        P068                   Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
       10/4/2017       Pederson Farms                     46100      Org Fresh Butternut                      162                   Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
       10/4/2017       Pederson Farms                     46100      Org Fresh Butternut                     Faust                  Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
       10/4/2017       Pederson Farms                     46100      Org Fresh Butternut                    Taylor                  Accepted                                                     Deibel         As consumed       100            <100           100           <100        100         <100
                                                                                                                                                         Calculated Levels on consumed
                                                                                                      F17-00670                     Accepted            basis. Ingredient not intended to                       As consumed                      140                         <100                     <100
                                                                                                                                                              be used in rice cereal
       10/3/2017       Firebird Artisan Mills             57600      Org Brown Rice Flour                                                                                                   Eurofins/Covance                      100                           100                      100
       10/3/2017       Tradin Organic                    5304141     Org Asepic Blueberry Puree       309514-01                     Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/3/2017       Yamco, LLC                        5314163     Sweet Potatoes for Puree Hickory Meadows Organics              Rejected                                                     Deibel         As consumed       100            <100           100          <100        100           120
                                                                                                                                                         Calculated Levels on consumed
       10/2/2017       SVZ                                16300      Org Peach Puree                     1000234978                 Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          180
                                                                                                                                                         Calculated Levels on consumed
       10/2/2017       Victor Packing                     472030     Org Raisin Paste                     255072717                 Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          200
       10/2/2017       Springfield Creamery              5301076     Org Whole Milk Yogurt               Nov 14 2017                Accepted                                                     Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       10/2/2017       Townsend Farms                     70030      Org Blueberry Puree                  T081117                   Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/2/2017       Townsend Farms                     70030      Org Blueberry Puree                  T091517                   Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/2/2017       Townsend Farms                     70030      Org Blueberry Puree                  T091217                   Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       10/2/2017       Grain Millers                      57400      Org Oat Flour                        170926A                   Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/29/2017       Springfield Creamery              5301076     Org Whole Milk Yogurt               Nov 10 2017                Accepted                                                     Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       9/29/2017       P&H Millling                       471152     Org Soft White Wheat Flour            725711                   Accepted                                                     Deibel         As consumed       200             200           100          <100        20           <100
                                                                                                                                                         Calculated Levels on consumed
       9/26/2017       Townsend Farms                     12900      Org Raspberry Puree                   T072817                  Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          120
       9/26/2017       Townsend Farms                     12900      Org Raspberry Puree                    T092017                 Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/25/2017       Firebird Artisan Mills            5303042     Org Quinoa Flour                      F17-00835                Accepted               spec for lead was 200ppb              Deibel         As consumed       200            <100           50           <100        200           120
       9/25/2017       SVZ                               5314150     Org Pumpkin Puree                    1000246550                Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/21/2017       Confoco                             8500      Org Banana Puree                        72501                  Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/21/2017       Yamco, LLC                        5314163     Org Sweet Potato Puree              S1-16144ORT                Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/20/2017       Southern Colorado Farms            49300      Org Fresh Carrots            18-1, 18-2, 20(1-2), 11(1-2)      Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/20/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005817                 Rejected                                                Eurofins/Covance    As consumed       100             120           100           16         100           14
       9/19/2017       SVZ                               5304079     Org Sweet Cherry Puree               1000228965                Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005816                 Rejected                                                Eurofins/Covance    As consumed       100             120           100           16         100           14
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005818                 Rejected                                                Eurofins/Covance    As consumed       100             120           100           17         100           14
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005813                 Rejected                                                Eurofins/Covance    As consumed       100             120           100           16         100           17
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005819                 Rejected                                                Eurofins/Covance    As consumed       100             120           100           16         100           17
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005815                 Rejected                                                Eurofins/Covance    As consumed       100             110           100           16         100           12
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005812                 Rejected                                                Eurofins/Covance    As consumed       100             110           100           16         100           14
       9/19/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour                B160005814                 Rejected                                                Eurofins/Covance    As consumed       100             110           100           15         100           15
                                                                                                                                                         Calculated Levels on consumed
       9/18/2017       Townsend Farms                     12900      Org Raspberry Puree                   T072417                  Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          110
                                                                                                                                                         Calculated Levels on consumed
       9/18/2017       Townsend Farms                     12900      Org Raspberry Puree                   T073117                  Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          140
                                                                                                                                                         Calculated Levels on consumed
       9/18/2017       Townsend Farms                     12900      Org Raspberry Puree                   T071817                  Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          170
       9/15/2017       Godwin Organic Orchards             66        Org Fresh Apples                 1 Godwin Organics             Accepted                                                     Deibel         As consumed       100            <100           100          <100        100          <100
                                                                                                                                                         Calculated Levels on consumed
       9/14/2017       Tradin Organic                     70195      Org Pineapple Juice Conc      QNA1711-PJC-0512EN53             Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          130
                                                                                                                                                         Calculated Levels on consumed
       9/14/2017       Tradin Organic                     70340      Org Orange Juice Conc                6JA17056A                 Accepted                          basis                      Deibel         As consumed
                                                                                                                                                                                                                                  100            <100           100          <100        100          140
       9/14/2017       Springfield Creamery               89700      Org Whole Milk Yogurt                11-01-2017                Accepted                                                     Deibel                           N/A            N/A            N/A          N/A         N/A          N/A
       9/14/2017       Export Packers                     16400      Org Pear Puree                        171185B                  Obsolete                                                     Deibel         As consumed       100            <100           100          <100        100          <100




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                                                                                                                                                                                                                 Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                  Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name            Item Number        Product Description            Lot Code                 Status               Comments on Status               Lab                         Limit                                       Result      Limit
                                                                                                                                                                                                      On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                    (ppb)                                        (ppb)      (ppb)
                                                                                                                                                      Calculated Levels on consumed
       9/12/2017       Arrowhead Mills                   5303040     Org Spelt Flour                     30AUG18                 Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     200            <100           100          <100         20          110
                                                                                                                                                      Calculated Levels on consumed
       9/11/2017       Grain Millers                      55300      Org Barley Flour                    170901A                 Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100            50          <100         50          130
        9/8/2017       Pacific Organics                    66        Org Fresh apples                     P053                   Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        9/8/2017       Pacific Organics                    66        Org Fresh Apples                 P056 Madden                Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
                                                                                                                                                      Calculated Levels on consumed
        9/5/2017       Norpac Foods/Quincy Foods          49800      IQF Org Green Peas                 059822-17                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100           100          <100        100          110
        9/5/2017       Grain Millers                      55300      Org Barley Flour                   170825A                  Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
        9/5/2017       Grain Millers                      55300      Org Barley Flour                   170823A                  Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
        9/5/2017       Grain Millers                      57400      Org Oat Flour                      170826A                  Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        9/5/2017       Grain Millers                      57400      Org Oat Flour                      170820A                  Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        9/5/2017       Philadelphia Macaroni              61900      Org Pasta Rings                     8-25-17                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        9/5/2017       Del Mar Food Products Corp.        13600      Org Strawberry Puree                170818                  Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/29/2017       Camerican International Inc.       49800      IQF Org Green Peas                   7153                   Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/25/2017       Grain Millers                      57400      Org Oat Flour                      170818A                  Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/23/2017       Grimmway Farms                     49300      Org Fresh Carrots                CI-879 CI-896              Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/22/2017       Springfield Creamery              5301076     Org Whole Milk Yogurt           October 2, 2017             Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
       8/22/2017       Springfield Creamery              5301076     Org Whole Milk Yogurt           October 3, 2017             Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
       8/22/2017       Grain Millers                      55300      Org Barley Flour                   170815A                  Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
       8/22/2017       Citrofrut                         5304146     Org Kent Mango Puree             4GGU350469                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/22/2017       Grain Millers                      57400      Org Oat Flour                      170816A                  Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
                                                                                                                                                      Calculated Levels on consumed
       8/21/2017       Grain Millers                     5308029     Org Brown Flax Milled               170731F                 Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100           100           190        200          <100
       8/21/2017       Food Team International            49800      IQF Org Green Peas          19-07-2017 & 20-07-2017         Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/21/2017       Grain Millers                      55300      Org Barley Flour                    170809A                 Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
       8/21/2017       Grimmway Farms                     463078     Org Diced Carrots 3/8'        70171, 2, 3, 4, 5, 6, 8J      Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/21/2017       Taylor Brothers Farms              23500      Org Pitted Prunes                 TBF-17 W13                Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005562                Accepted                                             Certified    As consumed       100             62            100           37         100           19
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005560                Accepted                                             Certified    As consumed       100             60            100           34         100           15
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005563                Accepted                                             Certified    As consumed       100             60            100           35         100           15
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005557                Accepted                                             Certified    As consumed       100             60            100           35         100           16
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005561                Accepted                                             Certified    As consumed       100             58            100           34         100           14
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005564                Accepted                                             Certified    As consumed       100             58            100           35         100           14
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005559                Accepted                                             Certified    As consumed       100             58            100           34         100           15
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005558                Accepted                                             Certified    As consumed       100             55            100           33         100           17
       8/18/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005581                Accepted                                             Certified    As consumed       100             55            100           33         100           17
                                                                                                                                                      Calculated Levels on consumed
       8/17/2017       Healthy Food Ingredients          5314070     Org Red Lentils                    16RM3678                 Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100           100           130        100          <100
       8/17/2017       Springfield Creamery              5301076     Org Whole Milk Yogurt            SEPT 21, 2017              Accepted                                              Deibel                        N/A            N/A            N/A           N/A        N/A          N/A
       8/17/2017       Springfield Creamery              5301076     Org Whole Milk Yogurt             SEP 19 2017               Accepted                                              Deibel                        N/A            N/A            N/A           N/A        N/A          N/A
                                                                                                                                                      Calculated Levels on consumed
       8/16/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005513                Accepted                          basis              Certified    As consumed
                                                                                                                                                                                                                     100             60            200           34         100          110
       8/16/2017       Bolt House                        5314134     Org Carrot Puree           BJ117JUN13A, BJ117JUN14A         Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/16/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour              B160005515                Accepted                                             Certified    As consumed       100             63            100           36         100           16
                                                                                                                                                      Calculated Levels on consumed
       8/10/2017       Grain Millers                      57400      Org Oat Flour                       170801A                 Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100            50          <100         50          110
                                                                                                                                                      Calculated Levels on consumed
       8/10/2017       Grain Millers                      55300      Org Barley Flour                    170802A                 Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100            50          <100         50          120
                                                                                                                                                      Calculated Levels on consumed
       8/10/2017       Burch Farms                        46100      Org Fresh Butternut               Brewer-Front              Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                     100            <100           100          <100        100          120
       8/10/2017       Burch Farms                        46100      Org Fresh Butternut               Brewer-Rear               Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       8/10/2017       CI Potosi SAS                      70142      Org Mango Puree                    15117102                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100



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                                                                                                                                                                                                               Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                                Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date            Vendor Name            Item Number        Product Description          Lot Code                 Status               Comments on Status               Lab                         Limit                                       Result      Limit
                                                                                                                                                                                                    On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                  (ppb)                                        (ppb)      (ppb)
       8/10/2017       CI Potosi SAS                      70142      Org Mango Puree                  14717102                 Accepted                                              Deibel      As consumed       100            <100           100           <100        100         <100
       8/10/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour            B160005514                Accepted                                             Certified    As consumed       100             59            100             34        100          22
       8/10/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour            B160005512                Accepted                                             Certified    As consumed       100             59            100             34        100          22
        8/9/2017       Mother India Farms                 70142      Org Mango Puree                MITMPO230517               Accepted                                              Deibel      As consumed       100            <100           100           <100        100         <100
                                                                                                                                                    Calculated Levels on consumed
        8/8/2017       Grain Millers                     471011      Org Quick Oats                     170802A                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   100            <100            50          <100         50          120
                                                                                                                                                    Calculated Levels on consumed
        8/8/2017       Philadelphia Macaroni Company      61800      Org Pasta Spaghetti              08-01-2017               Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   100            <100           100          <100        100          130
                                                                                                                                                    Calculated Levels on consumed
        8/8/2017       Healthy Food Ingredients          5314070     Org Red Lentils                   16RM3678                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   100            <100           100          <100        100          130
                                                                                                                                                    Calculated Levels on consumed
        8/4/2017       Arrowhead Mills                   5303040     Org Spelt Flour                   31JULY18                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   200            <100           100          <100         20          110
        8/4/2017       Grain Millers                      57400      Org Oat Flour                     170729N                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        8/3/2017       Montana Flour & Grains            5303053     Org Kamut Flour                 KMFCA57153F               Accepted                                              Deibel      As consumed       200            <100           100          <100        200          <100
        8/3/2017       Grain Millers                      57400      Org Oat Flour                     170617N                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        8/3/2017       Grain Millers                      57400      Org Oat Flour                     170618N                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        8/3/2017       Victor Packing                     472030     Org Raisin Paste                 255061617                Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        8/3/2017       Arrowhead Mills                   5303040     Org Spelt Flour                   26JUN18                 Accepted                                              Deibel      As consumed       200            <100           100          <100        20           <100
        8/3/2017       Cal Specialty Foods                13600      Org Strawberry Puree               715701                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        8/3/2017       Cal Specialty Foods                13600      Org Strawberry Puree               715607                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        8/2/2017       Grain Millers                      55300      Org Barley Flour                  170724A                 Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
                                                                                                                                                    Calculated Levels on consumed
        8/1/2017       Grain Millers                     5303011     Org Fiber Oat                      170708A                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   200            <100           100          <100         25          140
       7/31/2017       Grain Millers                      57400      Org Oat Flour                      170724N                Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/31/2017       Grain Millers                      57400      Org Oat Flour                      170722N                Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/31/2017       Grain Millers                      57400      Org Oat Flour                      170723N                Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/28/2017       Springfield Creamery               89700      Org Whole Milk Yogurt            Sep 14, 2017             Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
                                                                                                                                                    Calculated Levels on consumed
       7/27/2017       Grain Millers                      471138     Org Whole Wheat Fine Flour         170721A                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   100            <100            50          <100         50          110
       7/27/2017       Springfield Creamery               Z01004     Org Heavy Cream                  Sep 14, 2017             Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
       7/27/2017       Abre Farms                          2590      Org Green Beans            1179616000242 Part 216-16      Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/27/2017       Abre Farms                          2590      Org Green Beans            1179616000242 Part 217-16      Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/27/2017       Grain Millers                      57800      Org Lo Protein Wheat Flour         170721A                Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
       7/27/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005307               Accepted                                             Certified    As consumed       100             76            100           32         100           19
       7/27/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005305               Accepted                                             Certified    As consumed       100             76            100           32         100           19
       7/27/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005306               Accepted                                             Certified    As consumed       100             76            100           32         100           19
       7/27/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005304               Accepted                                             Certified    As consumed       100             76            100           32         100           19
       7/25/2017       Grain Millers                      55300      Org Barley Flour                   170715A                Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
                                                                                                                                                    Calculated Levels on consumed
       7/21/2017       Grain Millers                      55300      Org Barley Flour                   170712A                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   100            <100            50          <100         50          140
       7/20/2017       Townsend Farms                     70030      Org Blueberry Puree                061017                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/20/2017       Townsend Farms                     70030      Org Blueberry Puree                051817                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/20/2017       Townsend Farms                     70030      Org Blueberry Puree                060917                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/20/2017       Townsend Farms                     70030      Org Blueberry Puree                052517                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/20/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005300               Rejected                                             Certified    As consumed       100             63            100           35         100           220
       7/20/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005302               Rejected                                             Certified    As consumed       100             63            100           35         100           220
       7/20/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005303               Rejected                                             Certified    As consumed       100             63            100           35         100           220
       7/20/2017       Daawat Foods/Nature Bio-Foods     5303133     Org Brown Rice Flour             B160005301               Rejected                                             Certified    As consumed       100             63            100           35         100           220
                                                                                                                                                    Calculated Levels on consumed
       7/19/2017       Firebird Artisan Mills             57200      Org Green Lentil Flour            17-00601                Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                   200            <100           100          <100        200          110
       7/19/2017       Suzanne's Specialities             F0026      Organic Barley Malt Extract        19217D                 Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/19/2017       Grain Millers                     5308029     Org Brown Flax Milled              170615F                Rejected                                              Deibel      As consumed       100            <100           100           260        200          <100




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                                                                                                                                                                                                              Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                                                               Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name               Item Number       Product Description           Lot Code              Status               Comments on Status               Lab                         Limit                                       Result      Limit
                                                                                                                                                                                                   On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                                                                 (ppb)                                        (ppb)      (ppb)
                                                                                                                                                   Calculated Levels on consumed
       7/14/2017       Fresno Cooperative Raisin Growers, Inc. 23300   Org Whole Raisins                 166060               Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                  100            <100           100          <100        100          120
       7/14/2017       Grimmway Farms                          49300   Org Fresh Carrots               C1808-1 Poe            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/14/2017       Export Packers                          16400   Org Pear Puree                    170586A              Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/14/2017       Export Packers                          16400   Org Pear Puree                    170587A              Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005152             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005154             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005150             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005156             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005155             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005157             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005158             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005149             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/14/2017       Daawat Foods/Nature Bio-Foods         5303133   Org Brown Rice Flour            B160005148             Accepted                                             Certified    As consumed       100             65            100           35         100           21
       7/13/2017       Tradin Organic                        5304141   Org Asepic Blueberry Puree       309441-03             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/13/2017       Townsend Farms                          12900   Org Raspberry Puree               T032817              Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/13/2017       Townsend Farms                          12900   Org Raspberry Puree               T112816              Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       7/13/2017       Arrowhead Mills                         73200   Medium Grain Whole Rice           07JUL18              Accepted                                              Deibel      As consumed       200             150           200          <100        20           <100
                                                                                                                                                   Calculated Levels on consumed
       7/12/2017       Jewel Date                           14300      Org Date Paste                   JE11667C1             Accepted                          basis               Deibel      As consumed
                                                                                                                                                                                                                  100            <100           100          <100        100          120
       7/12/2017       Springfield Creamery                5301076     Org Whole Milk Yogurt            AUG22,2017            Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
        7/7/2017       Cedar Grove Cheese                   93500      Org Cheddar Cheese             C06-20-17 OKW           Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
        7/7/2017       Cedar Grove Cheese                   93500      Org Cheddar Cheese            D06-20-17 OKW            Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
        7/7/2017       Cedar Grove Cheese                   93500      Org Cheddar Cheese             E06-20-17 OKW           Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
        7/7/2017       Cedar Grove Cheese                   93500      Org Cheddar Cheese             F06-20-17 OKW           Accepted                                              Deibel                        N/A            N/A            N/A          N/A         N/A          N/A
        7/6/2017       Healthy Food Ingredients            5314065     Org Yellow Split Pea Powder       17BC2027             Accepted                                              Deibel      As consumed       200            <100           200          <100        100          <100
        7/5/2017       Bolt House                          5314134     Org Carrot Puree                BJ217MAY02A            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        7/5/2017       Firebird Artisan Mills              5303042     Org Quinoa Flour                  F1700561             Accepted                                              Deibel      As consumed       200            <100           50           <100        200          <100
        7/5/2017       Eco Holding                          16400      Org Pear Puree                    4L1 17096            Obsolete                                              Deibel      As consumed       100            <100           100          <100        100          <100
        7/5/2017       Eco Holding                          16400      Org Pear Puree                    6L1 17097            Obsolete                                              Deibel      As consumed       100            <100           100          <100        100          <100
        7/3/2017       Grain Millers                        57400      Org Oat Flour                      170616N             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       6/30/2017       Grain Millers                        57400      Org Oat Flour                      170619N             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       6/30/2017       Grain Millers                        57400      Org Oat Flour                      170621N             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       6/28/2017       Cal Specialty Foods                  13600      Org Strawberry Puree                715607             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       6/28/2017       Cal Specialty Foods                  13600      Org Strawberry Puree                715701             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        6/2/2017       Grimmway Farms                       49200      Org Carrot Puree              M11427B3B11C             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        6/2/2017       Grimmway Farms                       49200      Org Carrot Puree              M11427A2B11C             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        6/2/2017       Burch Farms                          47400      Org Fresh Sweet Potatoes        Grower: Lucas          Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        6/2/2017       Grain Millers                        57400      Org Oat Flour                      170525A             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
        6/2/2017       Grimmway Farms                      5314238     Org Rutabaga Puree            M11565B4B99C             Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/31/2017       Seenergy Foods Ltd                  5314242     Beans Navy Cooked IQF                1327              Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/30/2017       Eco Holding                            69       Org Apple Puree SS               23L2 17087            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/30/2017       Eco Holding                            69       Org Apple Puree SS               20L2 17087            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/26/2017       Eco Holding                            69       Org Apple Puree SS                9L2 17086            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/26/2017       Grain Millers                        55300      Org Barley Flour                   170521A             Accepted                                              Deibel      As consumed       100            <100           50           <100        50           <100
       5/26/2017       P&H Millling                         471152     Org Soft White Wheat Flour 711911, 712511, 712711      Accepted                                              Deibel      As consumed       200            <100           100          <100        20           <100
       5/26/2017       Eco Holding                          16400      Org Pear Puree                   10L1 17098            Obsolete                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/25/2017       Eco Holding                         5304052     Org LA Apple Puree               27L1 17108            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100
       5/25/2017       Eco Holding                         5304052     Org LA Apple Puree               29L1 17109            Accepted                                              Deibel      As consumed       100            <100           100          <100        100          <100




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                                                                                                  Raw Material Pre-Shipment Test Data History



                                                                                                                                                                         Arsenic Spec                                  Cadmium    Lead Spec
                                                                                                                                                          Spec Based                    Arsenic Result Cadmium Spec                           Lead Result
    Lab Results Date           Vendor Name   Item Number       Product Description    Lot Code        Status               Comments on Status     Lab                       Limit                                       Result      Limit
                                                                                                                                                              On                            (ppb)        Limit (ppb)                             (ppb)
                                                                                                                                                                            (ppb)                                        (ppb)      (ppb)
       5/25/2017       Eco Holding             5304052     Org LA Apple Puree        33L1 17115      Accepted                                    Deibel    As consumed       100            <100           100           <100        100         <100
       5/25/2017       Eco Holding              16400      Org Pear Puree            1L1 17095       Obsolete                                    Deibel    As consumed       100            <100           100           <100        100         <100




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                                                                        Raw Material Pre-Shipment Test Data History - Color Code Key

Color Code Key
           Approved items based on specification limit (as purchased)
           Approved items based on consumed level calculations (as consumed)
           Approved item based on Deviations; system go-live was on 7/16/2018
           Rejected items based on specification limit (as consumed or calculate)
           Obsolete means testing may have occurred but ingredient was not purchased




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